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          14
                                       UNITED STATES DISTRICT COURT
          15
                                      CENTRAL DISTRICT OF CALIFORNIA
          16
                 LYDIA OLSON; MIGUEL PEREZ;
          17     POSTMATES INC.; and UBER                      CASE NO. 2:19-cv-10956-DMG-RAO
                 TECHNOLOGIES, INC.,
          18
                                   Plaintiffs,                 SECOND AMENDED COMPLAINT
          19
                                                               FOR DECLARATORY, INJUNCTIVE,
                       v.                                      AND OTHER RELIEF
          20
                 XAVIER BECERRA, in his capacity as            DEMAND FOR JURY TRIAL
          21     Attorney General of the State of
                 California and personal capacity; and
          22     “JOHN DOE,” in his official capacity,         Hon. Dolly M. Gee
          23                       Defendants.
          24
          25           Plaintiffs Lydia Olson and Miguel Perez (together, “Individual Plaintiffs”), and
          26     Postmates Inc. (“Postmates”) and Uber Technologies, Inc. (“Uber”) (together,
          27     “Company Plaintiffs”) file this Second Amended Complaint for declaratory, injunctive,
          28     and other relief determining that California’s worker-classification framework enacted

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            1    through Assembly Bills 5 (“AB 5”), 170 (“AB 170”), and 2257 (“AB 2257”) is
            2    unconstitutional. AB 5, AB 170, and AB 2257, individually and together, violate the
            3    Equal Protection and Due Process Clauses of the Fourteenth Amendment to the United
            4    States Constitution, the Contracts and State Bill of Attainder Clauses of Article I of the
            5    United States Constitution, and the Equal Protection, Due Process, Contracts, and Bill
            6    of Attainder Clauses of the California Constitution. 1 The People of the State of
            7    California have approved Proposition 22, superseding these laws’ application to
            8    Plaintiffs, but Defendants and the legislators behind AB 5 have thumbed their noses at
            9    the People’s will (and the initiative statute they approved) and are continuing to enforce
          10     these unconstitutional and superseded laws against Plaintiffs.
          11                                          INTRODUCTION
          12             1.     Plaintiffs bring this lawsuit to protect their constitutional rights and defend
          13     their fundamental liberty to pursue their chosen work as independent app-based drivers
          14     and network companies.
          15             2.     California’s legal framework for worker classification was not rationally
          16     related to protecting workers. AB 5 and AB 170’s sponsors targeted network companies
          17     under a guise of protecting workers generally, but with AB 2257 they removed all
          18     pretense. Taken together, AB 5, AB 170, and AB 2257 singled out network companies
          19     like Company Plaintiffs and app-based drivers like Individual Plaintiffs, and treated
          20     them differently from similarly situated businesses and workers with no rational basis
          21     for the classifications the statutes drew. Defendants have been enforcing these laws
          22     against Plaintiffs, obtaining an injunction against Plaintiff Uber that was affirmed on
          23     appeal in part because the laws targeted the gig economy and the California Court of
          24     Appeal presumed they required Uber to reclassify drivers who use its apps as employees
          25     rather than independent contractors.
          26
          27      1
                      Plaintiffs preserve the right to appeal the dismissal with prejudice of their claims that
                      California’s worker-classification law also violates the Ninth Amendment to the
          28          United States Constitution and the “Baby Ninth” and Inalienable Rights provisions
                      of the California Constitution.
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            1          3.     On November 3, 2020, the People of the State of California decisively
            2    approved Proposition 22. Their stated purpose was “[t]o protect the basic legal right of
            3    Californians to choose to work as independent contractors with rideshare and delivery
            4    network companies throughout the state” from “recent legislation [that] has threatened
            5    to take away the flexible work opportunities of hundreds of thousands of Californians,
            6    potentially forcing them into set shifts and mandatory hours, taking away their ability to
            7    make their own decisions about the jobs they take and the hours they work.”
            8    Accordingly, Prop 22 provides that “an app-based driver is an independent contractor
            9    and not an employee or agent with respect to the app-based driver’s relationship with a
          10     network company,” “[n]otwithstanding any other provision of law.”
          11           4.     Several of the People’s representatives have not heeded the voters’ clear
          12     command.      Defying the People’s codified intention that app-based drivers be
          13     independent contractors, Defendant Attorney General Xavier Becerra and other State
          14     officials have continued their efforts to enforce now-superseded AB 5, AB 170, and AB
          15     2257 against Plaintiffs. Defendant Becerra and other officials are continuing their
          16     enforcement action, brought under these laws, against Plaintiff Uber. And they are
          17     defending the preliminary injunction they have obtained against Uber, requiring
          18     reclassification, in that enforcement action—even though the law now provides that
          19     drivers who use Uber are independent contractors. Just three days after Prop 22’s
          20     approval, on November 6, 2020, the California Division of Labor Standards
          21     Enforcement within the Department of Industrial Relations filed an amended complaint
          22     alleging that Uber is violating the worker-classification laws that no longer apply to Uber
          23     under Prop 22. And only two days after Prop 22’s approval, on November 5, 2020, the
          24     San Francisco District Attorney declined to withdraw its request for a preliminary
          25     injunction against network company DoorDash Inc., which seeks to require DoorDash
          26     to reclassify app-based drivers who use its app as employees—arguing it is possible that
          27     “there is still very much a piece of the preliminary injunction that is alive” under AB
          28     5—in spite of Prop 22 dictating precisely the opposite.

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            1          5.     Accordingly, even though AB 5, AB 170, and AB 2257 have been
            2    superseded, Plaintiffs are forced to maintain this action to protect themselves from
            3    Defendants’ enforcement of these unconstitutional laws.         Defendants’ continued
            4    persistence in enforcing AB 5, despite the approval of Prop 22, is an affront to the will
            5    of the voters and an effort to undermine the democratic process. It is also an affront to
            6    the California and U.S. Constitutions.
            7          6.     The purported purpose of AB 5 was to protect workers by codifying the
            8    ABC test, which Dynamex Operations West, Inc. v. Superior Court, 4 Cal. 5th 903
            9    (2018), had adopted as an interpretation of the Industrial Wage Commission’s wage
          10     orders. Sponsors of AB 5 stated that Dynamex was an important decision that increased
          11     protections for workers who had been misclassified under the previous and more flexible
          12     standard articulated in S. G. Borello & Sons, Inc. v. Department of Industrial Relations,
          13     48 Cal. 3d 341 (1989).
          14           7.     But this supposed purpose of increasing worker protections was
          15     contradicted by the laws themselves. Before AB 5, Dynamex applied the ABC test to
          16     the wage order claims of all workers, but AB 5 superseded Dynamex for the millions of
          17     workers the statute exempted, and reinstated the very Borello standard that the sponsors
          18     of AB 5 claim resulted in misclassification. Then, in AB 170 and AB 2257, those same
          19     sponsors added dozens of new exemptions, rolling back the ABC test for millions more
          20     California workers. In particular, AB 2257 dramatically expanded the exemption for
          21     referral agencies and service providers—while AB 5’s referral agency exemption
          22     applied to a specific list of referral agencies, AB 2257 exempted any and all referral
          23     agencies that met its requirements, except for a handful of disfavored referral agencies
          24     like Plaintiffs. See Cal. Lab. Code § 2777(b)(2)(B) (“Under this subparagraph, referrals
          25     for services may include, but are not limited to ….”).
          26           8.     The sponsors of these laws removed all doubt that they were targeting
          27     Plaintiffs by singling them out and excluding them from the expanded referral agency
          28     exemption in AB 2257. Network companies like Company Plaintiffs would naturally

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            1    be considered a “referral agency” under the plain interpretation of that language. But
            2    when AB 2257’s sponsors noticed that service providers who use Plaintiffs’ apps
            3    qualified for the “referral agency” exemption because they run errands, they revised the
            4    statute to exclude them. Thus, even as AB 2257 dramatically expanded the breadth of
            5    the referral agency exemption, it added new language providing that referrals for
            6    services “do not include” “delivery, courier, [or] transportation” services. See Cal. Lab.
            7    Code § 2777(b)(2)(C).
            8            9.    AB 2257’s revisions to the “referral agency” exemption deepened and
            9    broadened the irrationality of the classifications drawn in AB 5. All referral agencies
          10     were made subject to the Borello standard, so long as they meet a few requirements—
          11     unless they provided “transportation” or “delivery” services (among a handful of other
          12     disfavored groups). There was no rational basis for the distinctions the law drew among
          13     workers who are positioned identically as to the amount of control in their position, their
          14     bargaining power, their ability to control their own rate of pay, and the nature of the
          15     relationship between themselves and their customers.
          16             10.   For instance, under the revised version of the referral agency exemption,
          17     service providers who use errands-based apps like TaskRabbit (on-demand help with
          18     everyday tasks, such as handyman work) and Wag! (on-demand dog walking) were
          19     explicitly made subject to the Borello standard under the referral agency exemption,
          20     while service providers who used the Uber and Postmates apps still had to argue the
          21     ABC test did not apply to them. There was no rational reason to treat these apps
          22     differently when they rely on nearly identical business models. In fact, the apps are so
          23     similar that Wag! is sometimes referred to as “Uber for dogs.”2
          24
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                  2
                      See, e.g., Ruth Brown, ‘Uber for dogs’ app has lost 3 NYC pooches in a month, N.Y.
          26          Post (Mar. 9, 2018), https://nypost.com/2018/03/09/uber-for-dogs-app-has-lost-3-
                      nyc-pooches-in-a-month/ (referring to “Wag” as “the app known as ‘the Uber of dog-
          27          walking’”); Dante Ramos, Can ‘Uber for dogs’ overcome the fear of strangers?, Bos.
                      Globe (July 13, 2018), https://www.bostonglobe.com/opinion/ 2018/07/13/can-uber-
          28          for-dogs-overcome-fear-strangers/sd7ojO1ZrVs5iITTvblkPL/story.html (“Wag is
                      like Uber: a dispatching app … within a given market ….”).
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            1           11.   The laws further undercut their supposed purpose of protecting workers by
            2    exempting the very groups their sponsors identified as particularly vulnerable. In an
            3    official report published months before most of the exemptions were added, the
            4    Assembly Committee on Labor Employment claimed that “some of the highest
            5    misclassification rates [occur] in the economy’s growth industries.” Yet AB 5
            6    specifically exempted many workers in these same “growth industries,” including some
            7    workers in the construction, janitorial, and hospitality industries like errand runners,
            8    event planners, and travel agents. And AB 170 added a further exemption for newspaper
            9    carriers, even though its author believed that exempting them would lead to the
          10     “continue[d] … misclassif[ication]” of “historically misclassified” workers, such as
          11     “women of color.”3 She explained that while the exemption was “shameful” and
          12     “play[ed] … games with workers’ lives,”4 it was “a condition of AB5’s passage.”5
          13            12.   Applying the (dubious) principle articulated by the sponsors of AB 5, AB
          14     170, and AB 2257—that the ABC test protects workers from the misclassification that
          15     occurred under the Borello test—the law made millions of workers worse off. That is
          16     not a rational law.
          17            13.   By singling out Plaintiffs for disfavored treatment, the law violated the
          18     equal protection clauses of both the California Constitution and the Fourteenth
          19     Amendment to the United States Constitution. Even the California Court of Appeal has
          20     held the laws’ sponsors like “Assemblywoman Gonzalez and others” had publicly
          21     acknowledged that it “targeted” Plaintiffs. Those statements further show that the laws’
          22     numerous exemptions were included solely to obtain the necessary political support to
          23
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                      Katy Grimes, How Assemblywoman Lorena Gonzalez was Forced to Author AB 170
                      and Voted NO on Her Own Bill, Cal. Globe (Sept. 16, 2019),
          25          https://californiaglobe.com/section-2/how-assemblywoman-lorena-gonzalez-was-
                      forced-to-author-ab-170-and-voted-no-on-her-own-bill/.
          26      4
                      @LorenaSGonzalez,         Twitter    (Oct.     1,    2020,    10:53          a.m.),
          27          https://twitter.com/LorenaSGonzalez/status/1311725354856275969.
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                      Katy Grimes, How Assemblywoman Lorena Gonzalez, supra note 3.
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            1    punish Plaintiffs. The laws’ sponsors have also repeatedly exhibited animus towards
            2    Plaintiffs and an intent to single out and punish Plaintiffs. For example, the author of
            3    the law, Assemblywoman Gonzalez, described Uber as engaging in “wage theft” and
            4    said that Uber’s general counsel was “full of sh*t,” 6 while Assembly Speaker Anthony
            5    Rendon called the gig economy “f—g feudalism, all over again.” 7 With AB 5, Rendon
            6    explained, California’s lawmakers were “in a position to do something about that.”8
            7            14.   Defendants brought their first enforcement action under AB 5 against
            8    Plaintiff Uber to enjoin it to treat all of the independent drivers who use its ridesharing
            9    app as its employees—even though those drivers have always been independent
          10     contractors and the vast majority of them did not want to be reclassified—and on an
          11     emergency interim basis. The California Superior Court and the Court of Appeal
          12     rejected all of Plaintiff Uber’s arguments that the law did not apply to it and/or that it
          13     satisfied the ABC test, in part based on those courts’ reading of AB 5’s legislative history
          14     as singling out Plaintiffs for disfavored treatment under those laws.
          15             15.   On November 3, 2020, the People soundly rejected AB 5, AB 170, and AB
          16     2257’s disparate treatment of Plaintiffs by approving Prop 22.9 The voters found that
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                      @MikeBlountSac, Twitter (Sept. 18, 2019, 12:22 p.m.), https://twitter.com/
                      mikeblountsac/status/1174403405478936578 (quoting Assemblywoman Gonzalez;
          19          alteration in original); Lorena Gonzalez, The Gig Economy Has Costs. We Can No
                      Longer        Ignore      Them,      Wash.      Post.,   Sept.    11,    2019,
          20          https://www.washingtonpost.com/opinions/2019/09/11/gig-economy-has-costs-we-
                      can-no-longer-ignore-them/.
          21      7
                      Miriam Pawel, You Call It the Gig Economy. California Calls It “Feudalism,” N.Y.
          22          Times (Sept. 12, 2019), https://www.nytimes.com/2019/09/12/opinion/california-
                      gig-economy-bill-ab5.html; Aaron Abeytia, Calif. Assembly Speaker Calls Gig
          23          Economy      ‘F*****g     Feudalism,’   KMJ       Now     (July    10,    2019),
                      https://www.kmjnow.com/2019/07/10/assembly-bill-5-aaron-abeytia-report-7-10-
          24          19 (quoting Speaker Rendon).
          25
                  8
                      Anthony Rendon (@Rendon63rd), Twitter (July 10, 2019, 4:40 p.m.),
                      https://twitter.com/rendon63rd/status/1149101100928159744?lang=en.
          26      9
                      Although the final tally has not yet been certified, every major news outlet has called
          27          it as approved. See, e.g., Kate Conger, Uber and Lyft Drivers in California Will
                      Remain        Contractors,         N.Y.        Times        (Nov.       4,      2020),
          28          https://www.nytimes.com/2020/11/04/technology/california-uber-lyft-prop-
                                                                                       (Cont’d on next page)
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            1    although “[h]undreds of thousands of Californians” depend on app-based rideshare and
            2    delivery platforms “as a means of earning income while maintaining the flexibility to
            3    decide when, where, and how they work” and app-based rideshare and delivery
            4    platforms benefit “[m]illions of California consumers and businesses, and our state’s
            5    economy as a whole,” AB 5, AB 170, and AB 2257 “threatened to take away the flexible
            6    work opportunities of hundreds of thousands of Californians, potentially forcing them
            7    into set shifts and mandatory hours, taking away their ability to make their own decisions
            8    about the jobs they take and the hours they work.” 10 Prop 22 clarifies that service
            9    providers who use rideshare and delivery apps are independent contractors, while also
          10     requiring rideshare and delivery platform companies to offer a wide range of new
          11     protections and benefits for those independent service providers.
          12             16.        Although Prop 22 clarifies that AB 5, AB 170, and AB 2257 do not apply
          13     to Plaintiffs and “an app-based driver is an independent contractor and not an employee
          14     or agent with respect to the app-based driver’s relationship with a network company” if
          15     four conditions are met, 11 Defendants continue irrationally to pursue enforcement of the
          16     superseded statutes against Plaintiff Uber and other network companies, rejecting the
          17     will of the voters and demonstrating Defendants’ continued targeting of Plaintiffs and
          18     intent to single out and punish them. Defendants also have already indicated that they
          19     will “continue to seek penalties for the time between January and the certification of the
          20     election results” in these suits brought under AB 5, AB 170, and AB 2257.12
          21
          22
                      22.html; Taryn Luna, California Voters Approve Prop. 22, Allowing Uber and Lyft
          23          Drivers to Remain Independent Contractors, L.A. Times (Nov. 4, 2020),
                      https://www.latimes.com/california/story/2020-11-03/2020-california-election-
          24          tracking-prop-22; Carolyn Said, Proposition 22, California Gig-Work Ballot
                      Measure Backed by Uber and Lyft, Passes, San Fran. Chron. (Nov. 4, 2020),
          25          https://www.sfchronicle.com/politics/article/Proposition-22-California-gig-work-
                      ballot-15699651.php.
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                      Proposition 22 art. 1.
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                      Id. art. 2.
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                      Conger, supra note 9.
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            1          17.    The laws as they are being enforced violate the Bill of Attainder Clauses of
            2    the United States and California Constitutions by singling out a person or class for
            3    punishment. The California Court of Appeal explicitly has held that the legislators who
            4    drafted and voted for AB 5 set out to “target” particular gig companies based on their
            5    statements that these gig companies are blameworthy and deserving of censure.
            6          18.    Although AB 5, AB 170, and AB 2257 do not apply to Plaintiffs after Prop
            7    22, and Prop 22 makes app-based drivers independent contractors, Defendants are still
            8    trying to use AB 5, AB 170, and AB 2257 to force Plaintiffs to reclassify app-based
            9    drivers as employees. Forced reclassification would violate the due process clauses of
          10     the California Constitution and the Fourteenth Amendment to the United States
          11     Constitution because it would bar independent service providers who obtain referrals
          12     from technology platforms from exercising their constitutional right to pursue their
          13     occupation of choice. These service providers have a constitutional right not to be forced
          14     to be employees when they wish to remain independent. And network companies have
          15     a constitutionally protected interest in running their businesses free from unreasonable
          16     governmental interference, including from statutes that irrationally classify and target
          17     them as a politically disfavored group.
          18           19.    Enforcement of AB 5, AB 170, and AB 2257 is legally impermissible not
          19     only under Prop 22, but also under the Contracts Clauses of the United States and
          20     California Constitutions. The on-demand economy is built upon a structure of contracts
          21     in which consumers are connected via apps with independent service providers, not
          22     employees. Company Plaintiffs entered into millions of contracts with app-based drivers
          23     (including with Individual Plaintiffs) in reliance on the pre-AB 5 framework. Forced
          24     reclassification, or imposing liability in contravention of the contracts, would
          25     completely upend this contractual landscape, and—at the very least—substantially
          26     impair the existing contractual relationships, rendering many of them invalid, and
          27     forcing Company Plaintiffs to enter into new contracts with dramatically different
          28     obligations. There is no significant and legitimate public purpose motivating this gutting

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            1    of contractual expectations—only unjustified animus.
            2          20.    For these reasons and those set forth below, the Court should declare that
            3    AB 5, AB 170, and AB 2257 are unconstitutional and invalid, and cannot be enforced
            4    against Plaintiffs. Such a declaration and injunction are needed to stop Defendants’
            5    lawsuits seeking injunctions, damages, penalties, restitution, and other relief through the
            6    enforcement of a patently unconstitutional law against Plaintiffs.
            7                                           PARTIES
            8          21.    Plaintiff Lydia Olson is a driver who resides in Antelope, California and
            9    uses the Uber platform to get leads for passenger requests to transport passengers in the
          10     Sacramento and San Francisco Bay areas.
          11           22.    Plaintiff Miguel Perez is an independent courier who resides in Canyon
          12     Country, California, and uses the Postmates platform to get leads for delivery requests
          13     in the Los Angeles County area.
          14           23.    Plaintiff Postmates is a network company that operates an online
          15     marketplace and mobile app-based platform that connects individual consumers seeking
          16     to order food or other goods with local merchants (such as restaurants and retail stores),
          17     and if the consumer seeks delivery of an order, with independent couriers who use the
          18     Postmates platform to receive delivery referral notifications and choose whether to
          19     accept the consumer’s offer to pick up and complete the requested delivery.
          20           24.    Plaintiff Uber is a network company that licenses and operates online and
          21     mobile app-based platforms that connect individuals in need of goods or services with
          22     those willing to provide them.
          23           25.    Defendant Xavier Becerra is being sued in his official capacity as the
          24     Attorney General of California. In that capacity, he has authority to enforce AB 5, as
          25     amended by AB 170 and AB 2257.
          26           26.    Defendant “John Doe” is a placeholder designation for any unidentified
          27     California official who has authority, or purports to have authority, to enforce AB 5 (as
          28     amended by AB 170 and AB 2257) against Plaintiffs, in the event that additional

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            1    officials must be included as defendants in this lawsuit in order to afford Plaintiffs
            2    complete relief.
            3                                JURISDICTION AND VENUE
            4          27.    This civil action arises under the United States Constitution and the
            5    Fourteenth Amendment thereof, the California Constitution, and 42 U.S.C. § 1983.
            6          28.    This Court has subject matter jurisdiction over this action under 28 U.S.C.
            7    §§ 1331 and 1367.
            8          29.     This Court also has jurisdiction under 28 U.S.C. § 1343(a)(3) to redress
            9    deprivations “under color of any State law, statute, [or] ordinance … of any right,
          10     privilege or immunity secured by the Constitution of the United States ….”
          11           30.    Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202, as well as
          12     Federal Rule of Civil Procedure 57.
          13           31.    Injunctive relief is authorized by Federal Rule of Civil Procedure 65.
          14           32.    Venue is proper in this district under 28 U.S.C. § 1391(b).
          15           33.    An actual controversy exists between the parties concerning the
          16     constitutionality and validity of California’s worker-classification framework, as put
          17     into law by AB 5, AB 170, and AB 2257. A declaration that the statute is invalid and/or
          18     an injunction against its enforcement would resolve the controversy.
          19           34.    A permanent injunction enjoining Defendants from enforcing the AB 5, AB
          20     170, and AB 2257 worker-classification framework against Plaintiffs would protect
          21     Plaintiffs’ constitutional rights after this proceeding ends.
          22                                              FACTS
          23     I.    The On-Demand Economy, Including Plaintiffs’ Platforms, Offers
          24           Unprecedented Freedom and Flexibility to Independent Service Providers.

          25           35.    The on-demand economy allows independent service providers like Lydia

          26     Olson and Miguel Perez, along with others like them, to use the services offered by

          27     platform companies to earn money when and where they want, with unprecedented

          28     independence and flexibility. These earning opportunities have been made possible by

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            1    mobile applications operated by platform companies that connect consumers requesting
            2    certain services with independent providers of those services. Platform companies that
            3    operate these apps, like Plaintiffs, are sometimes referred to as “app-based platforms,”
            4    “network companies,” or “multi-sided platform companies.” Such multi-sided platform
            5    companies are well-recognized and unique businesses that “offer[] different products or
            6    services to two [or more] different groups who both depend on the platform to
            7    intermediate between them.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2280 (2018).
            8           36.   Independent service providers choose to work in the modern app-based on-
            9    demand economy as a means of earning a substantial or supplementary income while
          10     maintaining the right to decide when, where, and how they work. Hundreds of thousands
          11     of Californians choose to provide these services—such as providing transportation to a
          12     passenger or delivering food, groceries, and other goods—and enjoy an unprecedented
          13     level of flexibility and freedom without the restrictions, limitations, and burdens of
          14     traditional employment.
          15            37.   Independent service providers are able “to integrate work into their existing
          16     lifestyles, to manage it along with other work, and to assemble what amounts to a form
          17     of income insurance,” thereby gaining the ability “to create their own financial
          18     stability.” 13 For example, an aspiring comedian might choose to perform transportation
          19     services referred through an app so that she can attend an audition without checking with
          20     her boss. A student might choose to use a platform for delivery referrals to earn money
          21     between classes. A retiree might choose to use an app’s referrals to supplement fixed
          22     income and for social interaction. A military spouse might choose to work in the on-
          23     demand economy to help ease the burdens of frequent relocation. Others might choose
          24     it as a way to supplement “traditional” full-time work or to bridge the gap between
          25     salaried positions. Many also have turned to the on-demand economy in the midst of a
          26
          27     13
                      Intuit and Emergent Research, Dispatches from the New Economy: The On-Demand
                      Economy Worker Study, at 4-5 (June 2017), https://fdocuments.us/document/
          28          dispatches-from-the-new-economy-the-on-the-underlying-dynamics-affecting-
                      the.html.
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            1    personal or public crisis, such as the pandemic, to fill income gaps caused by furloughs,
            2    layoffs, or slowdowns. Others have chosen to leave traditional employment situations
            3    specifically to be their own boss, earn more money, and enjoy the benefits and flexibility
            4    of on-demand work. In short, these independent workers can work as much, or as little,
            5    as they want in order to accommodate family, social, professional, academic, and other
            6    commitments.
            7            38.   Because app-based work empowers individuals to generate income on a
            8    flexible schedule, “[m]any people choose this mode of work, even when they have other
            9    options.”14     Even when the country was experiencing record low levels of
          10     unemployment, hundreds of thousands of Californians flocked to on-demand work.
          11     Instead of a daily commute, an outdated workplace hierarchy, and the daily grind of an
          12     inflexible 9-to-5 job, these workers enjoy the freedom to be their own bosses, set their
          13     own hours, and earn income whenever they want. Many workers and businesses
          14     likewise have turned to the flexibility and freedom of the on-demand economy since the
          15     recent global pandemic shut down in-person dining in restaurants and eliminated many
          16     jobs. 15 The on-demand economy has kept many families and merchants afloat during
          17     the pandemic, and contributed to public efforts to combat the spread of the disease by
          18     providing a means to locate app-based drivers willing to provide safe and affordable
          19     transportation or food delivery options, among many other benefits.
          20             39.   Many such app-based drivers also choose to “multi-app”—i.e.,
          21     simultaneously use the apps of several app-based multi-sided platform companies. By
          22     using multiple apps at the same time (e.g., Uber, Postmates, Grubhub, and DoorDash)
          23     app-based drivers can more easily find service requests to perform, including multiple
          24     service requests at the same time, thereby maximizing their potential for earnings during
          25     the time period that they choose to make themselves available.
          26
          27     14
                      Intuit and Emergent Research, supra note 13, at 3.
          28     15
                      Editorial Board, The Gig Economy to the Rescue, Wall St. J. (Mar. 18, 2020),
                      https://www.wsj.com/articles/the-gig-economy-to-the-rescue-11584573142.
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            1          40.    Ms. Olson, for example, holds an MBA from the University of California,
            2    Davis, and was employed in several management positions before becoming an
            3    independent business owner in 2011. She runs a consulting firm that works with small
            4    businesses and churches. Shortly after Ms. Olson started her consulting business, her
            5    husband was diagnosed with multiple sclerosis, and she was grateful that, as an
            6    independent business owner, she had the flexibility to take time off to care for him when
            7    needed. In addition to her consulting work, Ms. Olson began using the Uber and Lyft
            8    apps for driving referrals to supplement her primary income while still maintaining the
            9    flexibility to support her husband after she experienced a sudden and temporary lull in
          10     her consulting business a couple years ago that was a potential catastrophe for her
          11     family. Given her husband’s illness and the fact that she has little or no notice of when
          12     she will have to take time off to care for him, as well as her consulting business, Ms.
          13     Olson could not give up the flexibility that she has as an independent service provider
          14     in exchange for a more traditional work arrangement. But she can utilize the app when
          15     she is able to work to earn significant income with no prior notice to anyone, including
          16     one weekend where she made $2,000 in three days.
          17           41.    Mr. Perez likewise has relied on the freedom and flexibility he has as an
          18     independent contractor to support his family. He once drove a big rig as a commercial,
          19     class A truck driver for FedEx on a regular graveyard shift. He disliked the inflexible
          20     schedule and long hours because of how little time he got to spend with his wife and
          21     children, and he found that he was constantly getting injured on the graveyard shift. Mr.
          22     Perez’s dissatisfaction led him to look for other work, and he decided to experiment with
          23     running his own on-demand business on his own terms by accepting referrals for
          24     consumers looking for rides or deliveries from several on-demand apps. Now running
          25     his own delivery business, Mr. Perez gets to decide when he starts work and when he
          26     stops. He is able to be his own boss and tailor his work to be present for all the important
          27     life events for his children. He chooses which apps to use that meet his needs and can
          28     switch between them seamlessly and in his sole determination about which works best

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            1    for him. And he has nearly doubled his earnings from when he was a truck driver,
            2    allowing his wife to quit her job and spend more time with their daughter.
            3           42.   The app-based on-demand economy has also benefited consumers. The
            4    advanced technologies of app-based platform companies like Company Plaintiffs have
            5    reduced the costs for consumers associated with finding and hiring independent service
            6    providers, eliminated barriers to enter markets with high initial setup costs, increased
            7    convenience for independent service providers and consumers, and lowered prices for
            8    numerous services by making it easy to connect independent service providers directly
            9    with paying consumers. As a result, consumers “have flocked to these networked
          10     services because of the added convenience, lower prices, and higher quality services.”16
          11     Millions of California consumers, brick and mortar businesses, and the state’s economy
          12     as a whole have benefited from the services of the on-demand economy.
          13            43.   Some of the many benefits to consumers, small businesses, and the public
          14     from the on-demand economy include providing convenient and affordable
          15     transportation, reducing impaired and drunk driving, improving mobility and access to
          16     local merchants for seniors and individuals with disabilities, providing new
          17     transportation options for families who cannot afford a vehicle, fostering growth of small
          18     businesses that are able to reach a broader market, and providing new, affordable, and
          19     convenient consumer-outreach options for local businesses and their patrons.
          20            44.   These benefits to workers, consumers, merchants, and the public as a whole
          21     have been fueled by network companies, like Company Plaintiffs, creating and operating
          22     platforms that instantly connect independent service providers willing to perform a
          23     service with consumers willing to pay for the service. For example, among other apps,
          24     Plaintiff Uber operates an app-based platform that connects consumers looking for a ride
          25     with drivers looking for such riders. Plaintiff Postmates operates an app-based platform
          26
          27     16
                      Will Rinehart, The Modern Online Gig Economy, Consumer Benefits, and the
                      Importance of Regulatory Humility, American Action Forum (Nov. 19, 2015),
          28          https://www.americanactionforum.org/research/the-modern-online-gig-economy-
                      consumer-benefit-and-the-importance-of-regula/.
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            1    that connects (i) consumers wishing to purchase goods (such as food) with (ii) merchants
            2    and (iii) independent couriers willing to deliver the purchased goods. Other platform
            3    companies operate online platforms that match independent service providers with
            4    persons willing to pay someone to perform any multitude of other services.
            5          45.    Importantly, the only services that platform companies provide are
            6    technology services provided through their platforms, such as matching services,
            7    payment processing, mapping, and data analytics that they provide to users on all sides
            8    of their platforms. Neither Company Plaintiff hires drivers or delivery persons, just like
            9    they do not hire the riders or consumers who use their platforms. They are technology
          10     companies that create and operate multi-sided platform apps, which facilitate the
          11     connection of consumers, merchants, and independent service providers, so that
          12     consumers (or businesses) can hire an independent service provider (or operator) to
          13     perform particular services.
          14           46.    Platform companies have been an engine of economic growth, innovation,
          15     and work opportunities in California, across the country, and around the world.
          16           47.    Instead of embracing how the on-demand economy has empowered
          17     workers, benefited consumers, and fueled economic growth, Defendants and some
          18     California legislators have irrationally attacked particular platforms. This irrational
          19     hostility towards certain platforms in the on-demand economy, and Plaintiffs in
          20     particular, led to the passage of AB 5, AB 170, and AB 2257.                     California
          21     Assemblywoman Lorena Gonzalez, who has been the most vocal about her animus
          22     towards Plaintiffs, was the lead drafter, sponsor, and proponent of the bills.
          23     II.   Assembly Bill 5’s Sponsors Profess to Codify and Extend the Reach of the
          24           Dynamex “ABC Test.”

          25           48.    On December 3, 2018, Assemblywoman Gonzalez introduced AB 5. AB

          26     5’s statement of purpose claims that “misclassification of workers as independent

          27     contractors has been a significant factor in the erosion of the middle class and the rise in

          28     income inequality.” AB 5 § 1(c). According to the bill, its intent is “to ensure workers

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            1    who are currently exploited by being misclassified as independent contractors instead of
            2    recognized as employees have the basic rights and protections they deserve under the
            3    law, including a minimum wage, workers’ compensation if they are injured on the job,
            4    unemployment insurance, paid sick leave, and paid family leave.” Id. § 1(e).
            5          49.    In a thinly veiled attempt to conceal AB 5’s sponsors’ irrational intent to
            6    target and harm platform companies, the bill purported to do this by “codify[ing] the
            7    decision of the California Supreme Court” in Dynamex Operations West, Inc. v. Superior
            8    Court of Los Angeles, 4 Cal. 5th 903 (2018), and “clarify[ing] the decision’s application
            9    in state law.” AB 5 § 1(d). But the statute does much more than that.
          10           50.    Dynamex adopted a three-factor test—or “ABC test”—to determine
          11     whether a worker is an independent contractor or an employee for purposes of the
          12     California Industrial Welfare Commission’s wage orders. 4 Cal. 5th at 956–57. The
          13     wage orders are “quasi-legislative regulations” that “impose obligations relating to the
          14     minimum wages, maximum hours, and a limited number of very basic working
          15     conditions (such as minimally required meal and rest breaks) of California employees.”
          16     Id. at 913–14 & n.3.
          17           51.    The wage order at issue in Dynamex imposes wage and hour obligations for
          18     companies that “employ” workers, which the wage order defines as “to engage, suffer,
          19     or permit to work.” Construing that specific language, Dynamex concluded that workers
          20     are presumed to be employees for purposes of the wage order unless three conditions
          21     are met:
          22           A. The individual is free from control and direction in connection with the
          23           performance of the service, both under his contract for the performance of
                       service and in fact;
          24
                       B. The service is performed outside the usual course of the business of the
          25           employer; and
          26           C. The individual is customarily engaged in an independently established
          27           trade, occupation, profession or business of the same nature as that
                       involved in the service performed.
          28
                 4 Cal. 5th at 957.
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            1          52.    Although Dynamex applied the ABC test solely for purposes of California’s
            2    wage orders, AB 5 went much further, codifying the ABC test for not only wage orders
            3    but also for the entirety of the California Labor Code and the California Unemployment
            4    Insurance Code. Compare Garcia v. Border Transp. Grp., LLC, 28 Cal. App. 5th 558,
            5    561, 570 (2018) (explaining that “Dynamex did not purport to [apply] in every instance
            6    where a worker must be classified as either an independent contractor or an employee,”
            7    and that “Dynamex does not apply” to “non-wage-order claims” (emphasis omitted)).
            8          53.    Specifically, Section 2 of AB 5 added a new provision to Article 1 of the
            9    California Labor Code, § 2750.3, that incorporates the ABC test verbatim. Section 3(i)
          10     of AB 5 amended the definition of “employee” in the Labor Code by linking that
          11     definition to the new Section 2750.3. And Section 4 of AB 5 amended Section 606.5 of
          12     the Unemployment Insurance Code to incorporate the definition of “employee” in
          13     Section 621 of the Code—a provision that, in turn, Section 5 of AB 5 amends to also
          14     incorporate Dynamex’s ABC test.         The Unemployment Insurance Code requires
          15     employers to pay unemployment insurance contributions for all of their employees. See
          16     Cal. Unemp. Ins. Code §§ 976, 977. Employers must also account for administrative
          17     costs associated with withholding unemployment insurance taxes, paying them over to
          18     the State, keeping extensive records of these transactions, and complying with recurring
          19     reporting requirements. See id. §§ 13020, 13021.
          20           54.    AB 5 also transformed employment regulations regarding the withholding
          21     of taxes into potential sources of criminal liability. Any employer who fails to withhold
          22     or pay these taxes, regardless of intent, could be guilty of a misdemeanor and subject to
          23     fines up to $1,000 for each occurrence and up to one year of imprisonment. Id. § 2118.
          24     Additionally, employers who fail to comply with numerous Unemployment Insurance
          25     Code provisions and regulations are potentially liable for dozens of penalties. See
          26     generally    Cal.   Emp’t     Dev.     Dep’t,    Penalty    Reference     Chart    (2018),
          27     https://www.edd.ca.gov/pdf_pub_ctr/de231ep.pdf. Just a handful of examples include
          28     fines for failing to report the hiring of a new or rehired “employee” within the prescribed

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            1    time limit (Cal. Unemp. Ins. Code § 1088.5(e)); failing “to file a report of wages of each
            2    of [its] workers on magnetic media or other electronic means” (id. § 1114(b)); filing a
            3    false statement of withholdings to an “employee” (id. § 13052); or failing to supply a
            4    required “identifying number” (id. § 13057(a)).
            5           55.   AB 5 stated that it may be enforced by the California Attorney General or
            6    “a city attorney of a city having a population in excess of 750,000, or by a city attorney
            7    in a city and county or, with the consent of the district attorney, by a city prosecutor in
            8    a city having a full-time city prosecutor in the name of the people of the State of
            9    California upon their own complaint or upon the complaint of a board, officer, person,
          10     corporation, or association.” AB 5 § 2(j). The lawsuits could seek injunctive relief “to
          11     prevent the continued misclassification of employees as independent contractors,” “[i]n
          12     addition to any other remedies available.” Id.
          13            56.   Assemblywoman Lorena Gonzalez, the bill’s lead sponsor, publicly
          14     “ask[ed] the 4 big City Attorneys offices to file for injunctive relief on 1/1/20” against
          15     Company Plaintiffs under AB 5.17 Several months later, Defendants filed for injunctive
          16     relief and monetary remedies against Uber.
          17     III.   The Exemptions in Assembly Bill 5 Rolled Back the Dynamex ABC Test for
          18            Millions of Workers.

          19            57.   AB 5 spent only a few lines adopting Dynamex’s ABC test for the

          20     California Labor Code and California Unemployment Code, and the remaining several

          21     pages outlining a litany of exemptions to the ABC test—reinstating the Borello test that

          22     AB 5’s sponsors claimed was insufficient protection for workers. Thus, despite its stated

          23     intent of guaranteeing basic rights of employees to all workers by expanding application

          24     of the ABC test, the vast majority of the statute was a morass of complicated provisions

          25     exempting dozens of occupations from that test. This haphazard scheme manifestly

          26     contradicted its stated purpose.

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          28     17
                      @LorenaSGonzalez, Twitter (Nov. 21, 2019, 8:05 a.m.), https://twitter.com/
                      lorenasgonzalez/status/1197546573158158336.
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            1            58.   AB 5 did not identify any data, studies, reports, or other justification or
            2    explanation for any of these exemptions.
            3            59.   In fact, many of the exemptions directly contradict the legislative findings
            4    regarding the most vulnerable industries and occupations. For instance, in an official
            5    report published months before most of the exemptions were added, the Assembly
            6    Committee on Labor Employment claimed that “some of the highest misclassification
            7    rates [occur] in the economy’s growth industries, including home care, janitorial, …
            8    construction, hospitality, security, and the app-based ‘on demand’ sector.”            Bill
            9    Analysis, Assembly Comm. on Labor and Emp’t, AB 5, at 2 (Cal. July 5, 2019). Yet
          10     AB 5 specifically exempted many workers in these same “growth industries,” including
          11     some workers in the “construction” industry like construction truckers (§ 2750.3(f)(8))
          12     and subcontractors (§ 2750.3(f)), workers in the “janitorial” industry like house cleaners
          13     (§ 2750.3(g), (g)(2)(C)), 18 and workers in the “hospitality” industry like errand runners,
          14     event planners, and travel agents (id.).
          15             60.   The legislature added these carve-outs to AB 5 solely for interest groups,
          16     labor unions, and specific industries, many of which have historically donated heavily
          17     to the campaigns of AB 5’s co-sponsors.
          18             61.   Under Section 2(a)(2) of the statute, the exempted workers are governed by
          19     the alternative “control-of-the-work” test from Borello—not the Dynamex ABC test.
          20     The Borello test uses a multi-factor balancing analysis—where no one factor is
          21     dispositive—to determine whether a worker is an employee or an independent
          22     contractor. Courts applying this test already had concluded that app-based drivers are
          23     independent contractors, not employees. See, e.g., Lawson v. Grubhub Inc., 302 F. Supp.
          24     3d 1071, 1093 (N.D. Cal. 2018) (concluding after a bench trial that a worker who
          25     provided delivery services to customers via Grubhub “was an independent contractor”
          26     and “not an employee” under the Borello test). And regulatory authorities have held that
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                      House cleaners are no longer exempt, after AB 2257.
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            1    they are not employees. FLSA2019-6, Op. Letter from Keith E. Sonderling, Acting
            2    Administrator, Wage and Hour Division, U.S. Dep’t of Labor (Apr. 29, 2019) at 7,
            3    https://www.dol.gov/whd/opinion/FLSA/2019/2019_04_29_06_FLSA.pdf
            4    (independent service providers are not “employees” under federal law). Signaling that
            5    the exemptions were meant to allow independent contractor relationships to continue for
            6    the exempted businesses, Assemblywoman Gonzalez stated that Borello “was weighted
            7    heavily against … trying to prove misclassification.” 19
            8            62.   The exemptions were not just an incremental or piecemeal approach to
            9    remedying purported worker misclassification. They eliminated the Dynamex standard
          10     for the wage order claims of millions of exempted workers to which Dynamex previously
          11     applied. The Dynamex rule applied generally to all wage order claims. Under AB 5,
          12     these workers’ claims are now subject to the Borello standard that AB 5’s sponsors said
          13     provides insufficient protection to workers. AB 5, AB 170, and AB 2257 even state that
          14     the exemptions that “would relieve an employer from liability … shall apply
          15     retroactively to existing claims and actions to the maximum extent permitted by law.”
          16     AB 5 § 2(i)(2); AB 170 § 1(i)(2); AB 2257 § 2785(b). The exemptions thus removed
          17     Dynamex’s more burdensome and restrictive standard for significant segments of the
          18     California economy. For example, more than 2.2 million direct sellers are exempted
          19     under just one exemption.20 If AB 5’s sponsors believed that Borello “was weighted
          20     heavily against … trying to prove misclassification” and their purpose in authoring AB
          21     5 was to prevent misclassification caused by this more flexible standard, it was irrational
          22     to add these exemptions, which glaringly defy, and directly contradict, that logic.
          23
          24
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                      @LorenaSGonzalez, Twitter (Dec. 25, 2019, 10:57 a.m.), https://twitter.com/
          26          LorenaSGonzalez/status/1209911130522406913?s=20.
          27     20
                      Press Release, Direct Selling Ass’n, Direct Selling Association Applauds Direct
                      Seller    Exemption      in     California    AB      5     (Sept.    26, 2019),
          28          https://www.dsa.org/events/news/individual-press-release/direct-selling-
                      association-applauds-direct-seller-exemption-in-california-ab-5.
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            1            63.   The statutory exemptions carved out many types of specifically chosen
            2    workers that bear the traditional hallmarks of independent contractors, but did not carve
            3    out many others possessing the exact same characteristics, including app-based drivers
            4    who use network companies’ platforms.
            5            64.   AB 5’s exemptions included:
            6                  a. Workers engaged in occupations requiring licenses, see AB 5 § 2(b)(1)–
            7                     (4), (6), including:
            8                         i. licensed insurance agents and other individuals requiring an
            9                            insurance license; 21
          10                         ii. licensed individuals in the medical profession (physicians,
          11                             surgeons, dentists, podiatrists, psychologists, and veterinarians),
          12                             so long as they are providing medical or professional services to
          13                             or by a health care entity; 22
          14                        iii. licensed attorneys, architects, engineers, private investigators,
          15                             and accountants;
          16                        iv. registered or licensed securities broker-dealers or investment
          17                             advisers; and
          18                         v. commercial anglers working on American (but not foreign)
          19                             vessels.
          20                   b. Direct sales workers as described in Section 650 of the California
          21                      Unemployment Insurance Code. AB 5 § 2(b)(5).
          22                          i. A direct sales salesperson generally is anyone “engaged in the
          23                             trade or business of primarily in person demonstration and sales
          24
          25     21
                      Specifically, “[a] person or organization who is licensed by the Department of
                      Insurance pursuant to Chapter 5 (commencing with Section 1621), Chapter 6
          26          (commencing with Section 1760), or Chapter 8 (commencing with Section 1831) of
                      Part 2 of Division 1 of the Insurance Code.” AB 5 § 2(b)(1).
          27
                 22
                      AB 5 exempted from the provision concerning medical occupations “employment
          28          settings currently or potentially governed by collective bargaining agreements.” AB
                      5 § 2(b)(2).
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            1                            presentation of consumer products, including services or other
            2                            intangibles, in the home.”      Cal. Unemployment Ins. Code
            3                            § 650(a).
            4                  c. Professional service providers, see AB 5 § 2(c)(2)(B)(i)–(xi), including
            5                     those who provide:
            6                        i. marketing services;
            7                        ii. human resources services;
            8                       iii. travel agent services;
            9                       iv. graphic design services;
          10                         v. grant writing services;
          11                        vi. fine artist services;
          12                        vii. services of agents licensed by the U.S. Treasury to practice before
          13                             the IRS;
          14                       viii. payment processing agent services;
          15                        ix. photography or photojournalist services;
          16                         x. services provided by a freelance writer, editor, or newspaper
          17                             cartoonist;23 and
          18                        xi. services provided by a licensed esthetician, electrologist,
          19                             manicurist, barber, or cosmetologist.
          20                   d. Real estate licensees and repossession agencies. AB 5 § 2(d)(1)–(2).
          21                   e. “[B]usiness-to-business contracting relationship[s],” subject to certain
          22                      conditions. AB 5 § 2(e).
          23                   f. Contractors and subcontractors in the construction industry, subject to
          24                      certain conditions. AB 5 § 2(f).
          25
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                      This exemption applied to a “freelance writer, editor, or newspaper cartoonist who
          28          does not provide content submissions to the putative employer more than 35 times
                      per year.” AB 5 § 2(c)(2)(B)(x).
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            1                 g. Subcontractors providing construction trucking services—i.e., “hauling
            2                    and trucking services provided in the construction industry”—subject to
            3                    certain conditions. AB 5 § 2(f)(8).
            4                 h. Referral agencies and service providers, subject to certain conditions.
            5                    AB 5 § 2(g).
            6                 i. Motor clubs and individual motor club service providers. AB 5 § 2(h).
            7          65.    There was no rhyme or reason to these nonsensical exemptions. Some were
            8    so ill-defined or entirely undefined that it is impossible to discern what they include or
            9    exclude. Others excluded some types of workers (e.g., dog groomers), but not others
          10     performing substantively identical work (e.g., groomers of other animals who also do
          11     not fit within AB 5’s definition of “animal services”). For example, it made no sense to
          12     exempt certain workers depending on what type of license they have. Drivers who
          13     transport passengers and use the Uber app for black car referrals, for instance, obtain
          14     government-issued business licenses for their transportation businesses. Yet AB 5
          15     treated them differently from other independent workers who must obtain licenses for
          16     their businesses like real estate agents, subcontractors providing construction trucking
          17     service, or numerous other service providers who use referral agencies—all of whom
          18     have substantially similar training, accreditation, and industry-protective considerations
          19     to the drivers and couriers who use the Uber and Postmates apps. There was no rational
          20     basis for such disparate treatment.
          21           66.    Many of AB 5’s exemptions were wholly arbitrary.            For example, a
          22     commercial fisherman is exempt when working on an American vessel, but not a foreign
          23     vessel. See AB 5 § 2(b)(6). A picture hanger who meets certain criteria is exempted,
          24     but not a picture framer who meets the same criteria. See id. § 2750.3(g)(2)(C). And a
          25     freelance editor or writer was exempt if she published 35 submissions per year per
          26     “putative employer,” but not if she published 36. See id. § 2(c)(2)(B)(x). When asked
          27     about this 35-submission cutoff, Assemblywoman Gonzalez said: “Was it a little
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            1    arbitrary? Yeah.” 24 News articles reported that “employers and workers in other
            2    industries including truck drivers, therapists, and entertainers [were] unclear how AB 5
            3    w[ould] affect them, leading some to take precautionary measures and others to say they
            4    hope[d] a court w[ould] clarify the matter soon.”25
            5            67.   AB 5’s exemptions contradict its stated purpose. If the purpose of AB 5
            6    was to prevent perceived widespread misclassification and address income inequality by
            7    ratcheting up the legal standard for worker classification, then it was irrational to ratchet
            8    down the legal standard for the dozens of exempted businesses and occupations and
            9    millions of California workers—taking the legal standard the Legislature apparently
          10     preferred (Dynamex) and removing it for wage order claims, reinstating the legal
          11     standard the Legislature apparently deemed insufficient (Borello).
          12             68.   The exemptions also undercut all of the legitimate rationales that could
          13     theoretically be derived from the claims put forth in its legislative history. For example,
          14     in an official report published months before most of the exemptions were added, the
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                      Katie Kilkenny, “Everybody Is Freaking Out”: Freelance Writers Scramble to Make
          17          Sense of New California Law, The Hollywood Reporter (Oct. 17, 2019),
                      https://www.hollywoodreporter.com/news/everybody-is-freaking-freelance-writers-
          18          scramble-make-sense-new-california-law-1248195 (internal quotation marks
                      omitted) (quoting Assemblywoman Gonzalez). It already has triggered companies
          19          such as Vox Media to announce they are ending contracts with hundreds of
                      freelancers in California. See, e.g., Megan McArdle, How a law aimed at Uber and
          20          Lyft is hurting freelance writers, Washington Post (Dec. 19, 2019),
                      https://www.washingtonpost.com/opinions/2019/12/19/how-law-aimed-uber-lyft-
          21          is-hurting-freelance-writers/; James Barrett, Democrat Behind Law That Just Got
                      Hundreds Of Writers Fired Says It’s ‘Not All Bad,’ Gets Smacked, Apologizes, Daily
          22          Wire (Dec. 17, 2019), https://www.dailywire.com/news/sb-nation-writers-lose-jobs-
                      because-of-new-california-law-democrat-behind-law-says-its-not-all-bad-gets-
          23          smacked-apologizes. This aspect of the law is challenged in a lawsuit pending in this
                      Court. See American Society of Journalists and Authors, Inc. v. Becerra, No. 2:19-
          24          cv-10645 (C.D. Cal. filed Dec. 17, 2019). That lawsuit and outcry prompted
                      Assemblywoman Gonzalez to solicit ideas for ways to carve-out even more
          25          workers—but not those who use on-demand apps—on Twitter, less than two weeks
                      before the law took effect. @LorenaSGonzalez, Twitter (Dec. 19, 2019, 9:47 a.m.),
          26          https://twitter.com/ LorenaSGonzalez/status/1207719056272310273.
          27     25
                      Christine Mai-Duc & Lauren Weber, It Isn’t Just Uber: California Prepares for New
                      Gig Worker Rules…and Confusion, Wall St. J. (Dec. 17, 2019),
          28          https://www.wsj.com/articles/confusion-in-california-as-gig-worker-law-set-to-
                      take-effect-11576590979.
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            1    Assembly Committee on Labor Employment claimed that “some of the highest
            2    misclassification rates” occurred in certain industries and yet exempted workers in many
            3    of those same industries. And there also is no rational reason for those workers in these
            4    industries who are not exempted to be subject to different tests and standards under AB
            5    5, while identically situated workers in these industries with the same working
            6    conditions are not, and the legislative record cannot support any such disparate treatment
            7    of Plaintiffs from those exempted in these industries.
            8            69.   Another report in the legislative history by the Senate Committee on Labor,
            9    Employment and Retirement claims that all of the exemptions are justified by a set of
          10     “occupation-by-occupation rules” that purportedly support exempting a select few
          11     industries. See Sen. Comm. on Labor, Pub. Emp’t, and Ret., AB 5, 2019–20 Reg. Sess.,
          12     at 8 (Cal. July 8, 2019). The four asserted criteria are “market strength,” “rate setting,”
          13     “relationship between contractor and client (such as whether a company ‘maximize[s]
          14     rate setting and market position’ for its contracting service providers),” and
          15     “technological neutrality.” This report was issued months before dozens of AB 5’s
          16     exemptions were added, and those later-added exemptions both undermine these
          17     purported justifications and irrationally discriminate among similarly situated workers.
          18     For example, yard cleaners and picture hangers do not engage in high-paying professions
          19     exerting “market strength.” Many exempted professions do not set their own rates.
          20     Construction contractors do not always “maximize rate setting and market position” for
          21     their subcontractors and “improve contractor earnings compared to other contractors or
          22     employees” when many select their subcontractors based on minimum bids. 26 And
          23     certainly none of these factors distinguish on-demand workers who find leads for dog-
          24     walking or yard cleaning through referral agencies from on-demand workers who find
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                      See Diana Ramos, Bid Like a Winner: The Master Builder’s Guide to Construction
          27          Bidding, smartsheet.com (Nov. 3, 2017), https://www.smartsheet.com/construction-
                      bidding (“In order to create successful construction bids, remember the industry
          28          golden rules: Start with highly accurate cost estimates, and submit the lowest bid of
                      all the competing contractors.”).
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            1    leads for performing other types of services, but were not granted an express exemption
            2    in AB 5.
            3          70.    Independent service providers who obtain referrals through technology
            4    platforms exhibit all the indicia of independent contractors upon which the report from
            5    the Senate Committee on Labor, Employment and Retirement claims to justify the
            6    exempted industries. They are free from the direction and control of platform companies
            7    because they retain full autonomy to use network companies’ platforms to find leads
            8    when and where they please and to choose from among those leads as they see fit,
            9    whether that means choosing the most profitable routes or declining routes that take
          10     them outside the specific locations in which they choose to work. Like the examples
          11     given in the report, they can choose to work with their own set of clients and turn down
          12     certain customers or businesses that do not meet their business models, and they exercise
          13     control over the rates and fares they charge and accept. In the same way, they maintain
          14     bargaining power by choosing when to login or logout based on customer demand and
          15     the available rates and which competitor apps to use based upon the best earning
          16     potential in the areas in which they choose to find leads. Likewise, the nature of the
          17     relationship between network companies and independent service providers meets the
          18     criteria discussed in the report. For example, both Company Plaintiffs ensure that
          19     independent service providers are paid in a timely manner (no later than one week after
          20     performing services), and help independent service providers maximize their rates and
          21     market position by facilitating peak pricing during times of high demand and assisting
          22     independent service providers in disputes with customers. Thus, it is irrational to carve
          23     out a few favored classes purportedly on the basis of these criteria and refuse to exempt
          24     many others, including network companies and app-based drivers, that satisfy as many
          25     or more of these criteria than the exempted groups.
          26           71.    In fact, this same committee report acknowledged that the law should
          27     exhibit “[t]echnological [n]eutrality” in that independent service providers in the sharing
          28     economy should not be treated differently from those working for traditional businesses

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            1    solely on the basis of the technology they use to find customers. Id. at 10. Yet the
            2    exemptions directly contradicted this by applying Borello to favored traditional workers
            3    while applying Dynamex to certain independent service providers who use app-based
            4    platforms and are similar in all relevant respects.
            5          72.    For example, there is no rational reason why an individual who chooses to
            6    earn income by direct selling Tupperware is exempt, and yet, if that same person earns
            7    extra income by offering driving services, there was (prior to Prop 22) no exemption.
            8    AB 5 exempts direct sellers who meet the conditions for exclusion from the definition
            9    of “employment” set out in Section 650 of the Unemployment Insurance Code. AB 5
          10     § 2750.3(b)(5). But these direct sellers are similarly situated to independent service
          11     providers in all relevant respects. Each retain control over the customers they work with,
          12     where and when they work, and how they interact with their customers. Moreover,
          13     independent service providers like Ms. Olson and Mr. Perez meet both of the
          14     requirements in Section 650 of the Unemployment Insurance Code for exemption from
          15     the definition of “employment.” First, “all of the remuneration” for the services
          16     performed by them “is directly related” to “the performance of services,” rather than “to
          17     the number of hours” they work. Cal. Unemployment Ins. Code § 650(b). Second, their
          18     services are performed “pursuant to a written contract” that provides that they “will not
          19     be treated as an employee with respect to those services for state tax purposes.” Id.
          20     § 650(c). Yet these direct sellers are subject to the more flexible Borello standard while
          21     independent service providers were subject to the more rigid Dynamex standard. And
          22     like these workers, since the inception of platform companies, on-demand workers have
          23     never been classified as employees and have settled expectations in their status as
          24     independent contractors.
          25           73.    The same is true for a yard cleaner, pool cleaner, dog groomer, dog walker,
          26     or local mover eligible under the referral agency exemption. See AB 5 § 2(g). Many
          27     app-based drivers meet the various criteria set out in the exemption, just as the exempted
          28     independent workers do: They are sole proprietors, totally free from the direction and

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            1    control of network companies, meet licensing requirements where applicable, provide
            2    services in their own name, use their own vehicles, are free to maintain their own
            3    clienteles without any restrictions, free to use competitor platforms, free to accept or
            4    reject clients and set their own hours, and are not penalized for rejecting leads. Yet
            5    certain types of service providers who use apps to find customers (like those who use
            6    Company Plaintiffs’ apps) were not exempted prior to Prop 22, while yard cleaners, dog
            7    groomers, dog walkers, pool cleaners, and local movers were (and are). These exempted
            8    workers are indistinguishable from app-based drivers, who were not exempted—
            9    including, but not limited to, in their bargaining power, their ability to control their own
          10     rate of pay, and the nature of the relationship between the worker and the client. The
          11     exemptions of similarly situated workers and not others is wholly irrational. Such
          12     exempted on-demand work like yard cleaning, dog grooming, pool cleaning, or mowing
          13     also does not require distinctly different training, accreditation, or industry-specific
          14     considerations than the work excluded from the exemption, and such exempted work is
          15     not subject to any particular unique idiosyncrasies such as infrequent demand for such
          16     services as compared to the non-exempted categories of work.
          17           74.    Further, the various exemptions in AB 5 provided criteria for obtaining the
          18     carve-out, but then went on to name only specific workers and industries eligible for the
          19     exemption, thereby excluding many other similarly situated workers and industries who
          20     also meet all of those criteria without any rational reason for doing so. For example, the
          21     “referral agency” exemption listed ten requirements a service provider must meet in
          22     order for a business doing business with the service provider to qualify as an exempted
          23     “referral agency”:
          24           • The service provider must be a sole proprietor, partnership, limited liability
                         company, limited liability partnership, or corporation;
          25
                       • The service provider is free from the control and direction of the referral;
          26
                       • The service provider has a business license, business tax registration, or state
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                         contractor’s license, if required by law;
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            1          • The service provider delivers services to the client under service provider’s
            2            name, rather than under the name of the referral agency;
            3          • The service provider provides its own tools and supplies to perform the
                         services;
            4
                       • The service provider is customarily engaged in an independently established
            5            business of the same nature as that involved in the work performed for the
            6            client;

            7          • The service provider maintains a clientele without any restrictions from the
                         referral agency and the service provider is free to seek work elsewhere,
            8            including through a competing agency;
            9          • The service provider sets its own hours and terms of work and is free to accept
          10             or reject clients and contracts;
                       • The service provider sets its own rates for services performed, without
          11
                         deduction by the referral agency; and
          12
                       • The service provider is not penalized in any form for rejecting clients or
          13             contracts.
          14     AB 5 § 2(g). App-based drivers are similarly situated with workers eligible for this
          15     exemption in all relevant respects:
          16           • As individuals doing business in California, they are sole proprietors.
          17           • They are free from the control and direction of platform companies.
          18           • They meet applicable licensing requirements.
          19           • They provide services under their own name, which is displayed prominently
                         on network company platforms and made clear to customers.
          20
                       • They use their own vehicles.
          21
                       • They own their own independently established businesses providing the same
          22             services they provide to customers using network company platforms to
                         connect with them.
          23
                       • They are free to work elsewhere, including through competing platforms, and
          24             are free to maintain a clientele without any restrictions.
          25           • They set their own hours and terms of work and are free to accept or reject
                         clients.
          26
                       • They exercise control over the rates and fares they charge and accept.
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                       • They are not penalized in any way for rejecting leads.
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            1            75.   Yet network companies and app-based drivers were excluded from the
            2    exemptions, which were given to handpick sixteen highly specific industries, including
            3    photographers (but not photojournalists), tutors (but not language interpreters), yard
            4    cleaners (but not arborists), persons who perform minor home repairs (but not persons
            5    who perform minor office or car repairs), house cleaners (but not house sitters or office
            6    cleaners), pool cleaners (but not chimney cleaners), picture hangers (but not picture
            7    framers), furniture assemblers (but not furniture repairers), and dog walkers and
            8    groomers (but not groomers of other animals who also do not fit within AB 5’s definition
            9    of “animal services”).27 It was irrational for the Legislature to protect these chosen few
          10     favored industries while excluding countless others who can and do meet the same exact
          11     criteria specified in the exemption.
          12             76.   The requirement that a service provider be a “business entity” defined as a
          13     “sole proprietor, partnership, limited liability company, limited liability partnership, or
          14     corporation” was no limitation at all, and was not a rational justification for exempting
          15     some handpicked service providers and excluding others. Any person doing business in
          16     California as an individual, including independent service providers who use app-based
          17     platforms, are sole proprietors under California law. For example, Ms. Olson and Mr.
          18     Perez are business entities under AB 5’s definition, and therefore are no different from
          19     those who are exempted under the referral agency exemption.
          20             77.   Like many of the exempted service providers named in the referral agency
          21     exemption, app-based drivers bear all the hallmarks of independent contractors. They
          22     exhibit self-direction by exerting independence and control of their work by choosing
          23     when, how, and where they do business, and they have the freedom to innovate in order
          24     to stand out in the marketplace. They also exert the same independence and control in
          25     choosing how to interact with their customers. For example, Mr. Perez has built his own
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                      In response to pressure from interest groups, the Legislature has since added
          28          additional exemptions for photojournalists and language interpreters (along with
                      many other occupations). See AB 2257.
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            1    delivery business by cultivating relationships with local merchants from which he
            2    regularly delivers. They exhibit skill by choosing the best or most profitable routes and
            3    developing innovative strategies to gain an advantage over the competition.          For
            4    example, Mr. Perez has developed creative ways to deal with unique delivery
            5    opportunities and challenges in his community. Over time, he has learned the best ways
            6    to find customer parking and restaurant parking. He has also learned shortcuts, streets
            7    to avoid during the day, and which areas have a lot of merchants that customers want
            8    deliveries from. He knows which restaurants to accept deliveries from and which to
            9    avoid, because for example they take too long to prepare food. All of that comes from
          10     the skill and experience he has developed by running his own business. Moreover, by
          11     choosing when to login and provide services, they exhibit self-pricing. And they
          12     exercise control over the rates and fares they charge and accept. They also have the
          13     ability to work shorter or less frequent terms. For example, Ms. Olson logs in to the
          14     Uber app only on an as-needed basis, when she needs supplemental income from her
          15     driving business. She often starts using the Uber app on the spur of the moment when
          16     it suits her schedule and abruptly stops when her husband needs her. And they exert
          17     independence and control over their work location. Like others, Ms. Olson chooses her
          18     own areas to drive, and she can and does decline passengers when they are requesting
          19     trips that are inconvenient for her or outside her desired work location. Put simply,
          20     independent service providers exhibit all the traditional characteristics of independent
          21     contractors, and they do not differ materially from the exempted independent
          22     contractors. Yet AB 5 arbitrarily picked winners and losers among service providers
          23     whose work shares these same characteristics.
          24           78.    Similarly, the occupational exemptions carve out a handpicked class of
          25     medical professionals like podiatrists, psychologists, and veterinarians, AB 5
          26     § 2750.3.(b)(2), but not many other similarly situated medical professionals like
          27     occupational therapists, speech therapists, optometrists, nurse practitioners, physician
          28     assistants, radiation therapists, licensed professional clinical counselors, marriage and

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            1    family therapists, licensed clinical social workers, respiratory therapists, audiologists,
            2    and cardiopulmonary perfusionists.
            3           79.   Moreover, even assuming arguendo that the exemptions identify some
            4    industries in which the nature of the relationship between companies and service
            5    providers makes it more likely that workers in those industries will satisfy a given test
            6    regarding their classification as employees or independent contractors, there is no
            7    rational reason to apply a different test to those industries. Applying a different test
            8    altogether stacks the deck against the targeted companies, and attempts to choose
            9    winners and losers arbitrarily.
          10            80.   AB 5 also provided temporary exemptions for handpicked industries,
          11     naming them specifically while giving no other industry additional time to comply with
          12     its sweeping obligations. These include newspaper delivery persons exempted until
          13     2021 (AB 170 § 1(b)(7)), certain construction subcontractors exempted until 2022 (AB
          14     5 § 2(f)), licensed manicurists exempted until 2022 (id. § 2(c)), and commercial
          15     fisherman exempted until 2023 (id. § 2(b)(6)). There is no rational reason to grant these
          16     industries and service providers a temporary reprieve while requiring immediate
          17     compliance from all disfavored industries and service providers. Rather, these reprieves
          18     are purely the result of political pressure.
          19            81.   Assemblywoman Gonzalez, the author of AB 170, admitted that she “had
          20     no other choice” but to add the exemption for newspaper carriers “as a condition of
          21     AB5’s passage,” even though she believed it would cause “continue[d] …
          22     misclassif[ication]” of “historically misclassified” workers, such as “women of color.”28
          23     Assemblywoman Gonzalez’s bill exempts newspaper carriers from the ABC test,
          24     subjecting them to the more lenient Borello standard, even though she admitted that
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                      Katy Grimes, How Assemblywoman Lorena Gonzalez, supra note 3.
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            1    “newspapers have lost nearly every case brought by carriers under Borello.”29 “It’s
            2    shameful that we play these games with workers’ lives,” she said after her exemption
            3    passed, “no matter how much we love journalism.” 30 Company Plaintiffs requested a
            4    similar temporary exemption, but the Legislature denied it.
            5            82.   The Legislature included the exemptions and temporary reprieves as
            6    political favors or to politically favored groups without any valid legislative purpose or
            7    rational basis, to the detriment of certain disfavored platform companies. At least one
            8    legislator warned during the debate over AB 5’s passage that the legislation “undermines
            9    the principle of equal treatment under the law and deprives many Californians the right
          10     to be their own bosses, by exempting some industries over others.” 31
          11             83.   In the months preceding the passage of AB 5, the California Labor
          12     Federation circulated a one-page form that business groups could complete to request an
          13     exemption from the statute. These “opt out” forms were the idea of Assemblywoman
          14     Gonzalez’s staff and her staff, in turn, worked to amend the bill to create additional
          15     exemptions based upon the relative interest from labor groups in the specific businesses
          16     seeking an exemption. This process played out repeatedly and is responsible for the
          17     irrational and arbitrary results of the final bill.32 Assemblywoman Gonzalez touted the
          18     fact that the bill represents the union’s bare political interests to irrationally benefit
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                      @LorenaSGonzalez,         Twitter    (Oct.     1,    2020,    10:53            a.m.),
                      https://twitter.com/LorenaSGonzalez/status/1311725906914734080.
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                      @LorenaSGonzalez,         Twitter    (Oct.     1,    2020,    10:53            a.m.),
          23          https://twitter.com/LorenaSGonzalez/status/1311725906914734080.
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                      Katie Grimes, California’s Independent Contractors Are About to Become
                      Dependent Employees – or Unemployed, Cal. Globe (Dec. 17, 2019),
          25          https://californiaglobe.com/section-2/californias-independent-contractors-are-about-
                      to-become-dependent-employees-or-unemployed/.
          26     32
                      In addition, Assemblywoman Gonzalez has promised a “part 2 to the bill,” apparently
          27          to add more exemptions for politically favored groups. @LorenaSGonzalez, Twitter
                      (Nov.      21,    2019,     7:45      a.m.),    https://twitter.com/lorenasgonzalez/
          28          status/1197541485056409611?s=12.
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            1    friends and harm others, explaining at the time of its passage in the California Assembly
            2    that “I am a Teamster …. I am the union.”33
            3    IV.     California Legislators Confirm in Public Statements That They Intended to
                         Target Certain Disfavored Platform Companies.
            4
            5            84.   Despite the enormous benefits they have created for app-based drivers,
            6    consumers, and the public at large, network companies remain politically unpopular
            7    among California legislators and the law enforcement officials charged with enforcing
            8    their laws. In the weeks immediately before and after the California Legislature passed
            9    AB 5 on September 11, 2019, the primary supporters of the statute, and the interest
          10     groups that lobbied for it, repeatedly disparaged certain companies in the on-demand
          11     economy and confirmed that their purpose in promoting and voting for the statute was
          12     to target and harm those network companies and benefit unions.
          13             85.   For example, AB 5’s sponsor, Assemblywoman Gonzalez, stated that AB
          14     5 was directed at network companies, with comments such as the following:
          15                   a. On September 9, 2019, while defending AB 5, Assemblywoman
          16                      Gonzalez accused network companies like Uber and Postmates of
          17                      engaging in “wage theft.”34
          18                   b. On September 11, 2019, Assemblywoman Gonzalez criticized network
          19                      companies like Uber and Postmates, stating that they “rely on a contract
          20                      workforce” and, according to her, AB 5 will stop such “gig economy
          21                      companies” from relying on independent contractors.35
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                      @LorenaSGonzalez, Twitter (May 30, 2019, 7:23 a.m.), https://twitter.com/
                      lorenasgonzalez/status/1134087876390428672?s=21.
          25     34
                      @LorenaSGonzalez, Twitter (Sept. 9, 2019, 7:29 p.m.), https://twitter.com/
          26          LorenaSGonzalez/status/1171234109999341569.
          27
                 35
                      Lorena Gonzalez, The Gig Economy Has Costs. We Can No Longer Ignore Them,
                      Wash. Post (Sept. 11, 2019), https://www.washingtonpost.com/opinions/2019/09/11/
          28          gig-economy-has-costs-we-can-no-longer-ignore-them/.
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            1                  c. On September 12, 2019, Assemblywoman Gonzalez stated that
            2                     California has “allowed a great many companies—including ‘gig’
            3                     companies such as Uber … to rely on a contract workforce, which
            4                     enables them to skirt labor laws, exploit working people and leave
            5                     taxpayers holding the bag.”36
            6                  d. On September 18, 2019, Assemblywoman Gonzalez stated that Uber’s
            7                     Chief Legal Counsel is “full of sh*t.”37
            8                  e. On September 26, 2019, Assemblywoman Gonzalez proposed
            9                     legislation that would mandate that Uber publicly disclose sensitive
          10                      information in its internal investigations.
          11                   f. On November 21, 2019, in response to a tweet specifically mentioning
          12                      Uber, Assemblywoman Gonzalez publicly asked the City Attorneys in
          13                      California’s four largest cities to immediately file for injunctive relief
          14                      under AB 5 on January 1, 2020. 38 She later clarified that the goal was
          15                      to target “large companies” that run such platforms. 39
          16                   g. On November 25, 2019, Assemblywoman Gonzalez encouraged
          17                      independent service providers to file unemployment insurance claims.40
          18
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                 36
                      Glenn Jeffers, Legislature OKs Bill To Curb “Gig” Workers; Uber Vows To Ignore,
                      Daily Journal (Sept. 12, 2019), https://www.dailyjournal.com/articles/354215; see
          20          also George Skelton, Labor Won Big With Bill To Rewrite California Employment
                      Law—But It’s Flawed, L.A. Times (Sept. 12, 2019), https://www.latimes.com/
          21          california/story/2019-09-11/skelton-ab5-independent-contractors-california-
                      employment-law.
          22     37
                      @MikeBlountSac, Twitter (Sept. 18, 2019, 12:22 p.m.), https://twitter.com/
          23          mikeblountsac/status/1174403405478936578 (quoting Assemblywoman Gonzalez;
                      alteration in original).
          24     38
                      @LorenaSGonzalez, Twitter (Nov. 21, 2019, 8:05 a.m.), https://twitter.com/
          25          LorenaSGonzalez/status/1197546573158158336?s=20.
          26
                 39
                      @LorenaSGonzalez, Twitter (Dec. 25, 2019, 10:12 a.m.), https://twitter.com/
                      LorenaSGonzalez/status/1209899767355961344?s=20.
          27     40
                      @LorenaSGonzalez, Twitter (Nov. 25, 2019, 2:21 p.m.), https://twitter.com/
          28          LorenaSGonzalez/status/1199090860329033728?s=20;     @LorenaSGonzalez,
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            1                  h. On November 27, 2019, Assemblywoman Gonzalez took sides in a
            2                     pending litigation, opposing Uber’s effort to enforce its arbitration
            3                     agreement with drivers. 41
            4                  i. On December 29, 2019, the Los Angeles Times reported that
            5                     Assemblywoman “Gonzalez said she is open to changes in the bill next
            6                     year, including an exemption for musicians—but not for app-based ride-
            7                     hailing and delivery giants.” 42
            8                  j. On February 13, 2020, Assemblywoman Gonzalez retweeted a post by
            9                     a labor organization claiming that network companies like Uber and
          10                      Postmates     “ARE     KILLING     OFF     SMALL      RESTAURANT
          11                      BUSINESSES WHILE STEALING CLIENTELE” and calling them
          12                      “HORRENDOUS.” 43
          13            86.    Other lawmakers who supported AB 5 similarly attacked specific network
          14     companies and made clear that their vote was focused on network companies like
          15     Plaintiffs.
          16                   a. On July 10, 2019, California Assembly Speaker Anthony Rendon
          17                      defended AB 5 by stating that “[t]he gig economy is ... a continuation
          18                      of hundreds of years of corporations trying to screw over workers,” and
          19
          20
          21
          22
                      Twitter (Nov. 25, 2019, 1:22 p.m.), https://twitter.com/LorenaSGonzalez/
          23          status/1199075844888489984?s=20.
          24
                 41
                      @LorenaSGonzalez, Twitter (Nov. 27, 2019, 4:16 a.m.), https://twitter.com/
                      LorenaSGonzalez/status/1199663397123579905?s=20.
          25     42
                      Margot Roosevelt, New Labor Laws Are Coming to California. What’s Changing in
          26          Your Workplace?, L.A. Times (Dec. 29, 2019), https://www.latimes.com/
                      business/story/2019-12-29/california-employment-laws-2020-ab5-minimum-wage.
          27     43
                      @TheAllianceOrg, Twitter (Feb. 13, 2020, 11:42 a.m.), https://twitter.com/
          28          TheAllianceOrg/status/1228041894086602752.
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            1                     asserted that, with AB 5, “we’re in a position to do something about
            2                     that.”44
            3                  b. On September 7, 2019, California State Assemblywoman Buffy Wicks
            4                     advocated for AB 5 and stated that “just because your employer uses a
            5                     smartphone app, doesn’t mean they should be able to misclassify you as
            6                     an independent contractor.”45
            7            87.   The California Attorney General (Defendant Becerra), along with the City
            8    Attorneys of Los Angeles, San Diego, and San Francisco, responded to Ms. Gonzalez’s
            9    call and sought injunctive relief against Uber. The trial court granted their motion for a
          10     preliminary injunction. 46 In its order affirming the preliminary injunction, the California
          11     Court of Appeal found that “the[] statements by Assemblymember Gonzalez and others
          12     are consistent with” the conclusion “that the Legislature ‘targeted’ ride-sharing
          13     companies.”47
          14             88.   Representatives from the California Labor Foundation, which was the
          15     principal lobbying group supporting AB 5, similarly attacked certain network companies
          16     while lobbying legislators to pass the bill:
          17                   a. On September 11, 2019, the California Labor Foundation tweeted a link
          18                      to a New York Times article titled: “Take That ‘Gig’ and Shove It: A
          19
          20
          21
          22
                 44
                      @Rendon63rd,          Twitter     (July     10,       2019,      4:40     p.m.),
                      https://twitter.com/Rendon63rd/status/1149101100928159744; see also Miriam
          23          Pawel, You Call It the Gig Economy. California Calls It “Feudalism,” N.Y. Times
                      (Sept. 12, 2019), https://www.nytimes.com/2019/09/12/opinion/california-gig-
          24          economy-bill-ab5.html.
          25
                 45
                      @BuffyWicks, Twitter (Sept. 7, 2019, 6:57                 a.m.),   https://twitter.com/
                      BuffyWicks/status/1170335312758706177?s=20.
          26     46
                      People v. Uber Techs., Inc., 2020 WL 5440308, *18 (Cal. Super. Ct. Aug. 10, 2020).
          27     47
                      People v. Uber Techs., Inc., 2020 WL 6193994, at *16 n.18 (Cal. Ct. App. Oct. 22,
          28          2020).
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            1                     California bill would make it harder for companies like Uber to take
            2                     advantage of workers.” 48
            3                  b. On September 13, 2019, the California Labor Foundation tweeted a
            4                     statement about AB 5 that said: “We cannot allow technology to be
            5                     used as an excuse to exploit workers.”49
            6                  c. On September 18, 2019, the California Labor Foundation’s Legislative
            7                     Director tweeted a quotation from an article that said: “California has
            8                     the highest poverty rate of any state. Gig jobs are part of this travesty.
            9                     By rejecting the exploitative gig business model, this victory is the most
          10                      significant action against poverty, precarity & homelessness in recent
          11                      memory.” 50
          12             89.   These well-funded lobbying efforts accomplished their mission to target
          13     network companies for irrational treatment: As enacted, AB 5 spent the majority of its
          14     text exempting dozens of occupations from its reach—after spending just a few words
          15     on its purported purpose of codifying Dynamex. Absent from the long list of exemptions
          16     were the network companies targeted by its sponsors. That was no accident. Gonzalez
          17     vowed from the beginning that network companies would not make the list: “It’s not
          18     going to happen,” she pledged. 51 And after AB 5 passed, she tweeted in celebration that
          19     she had “fought so hard for #AB5 with no gig carve-outs.”52
          20
          21
                 48
                      @CaliforniaLabor, Twitter (Sept. 12, 2019, 1:11 p.m.), https://twitter.com/
                      CaliforniaLabor/status/ 1172241240903094273.
          22     49
                      @CaliforniaLabor, Twitter (Sept. 13, 2019, 7:33 a.m.), https://twitter.com/
          23          CaliforniaLabor/status/ 1172518612482981888.
          24
                 50
                      @Unionista27,         Twitter       (Sept.     18,    2019,          7:42       a.m.),
                      https://twitter.com/unionista27/status/ 1174332775215714304.
          25     51
                      Margot Roosevelt, California Bill Curbing Use of Contractors Would Not Exempt
          26          Uber, Lyft, Other Tech Firms, L.A. Times (Mar. 26, 2019), https://www.latimes.com/
                      business/la-fi-uber-lyft-employee-contractor-bill-20190326-story.html.
          27     52
                      @LorenaSGonzalez,         Twitter   (Sept.     22,   2019,    12:16      p.m.),
          28          https://twitter.com/LorenaSGonzalez/status/1175851372526194689.
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            1           90.   On January 6, 2020, in response to additional lobbying, Assemblywoman
            2    Gonzalez introduced a new bill, AB 1850 (which eventually became AB 2257 to ensure
            3    it would become immediately effective upon passage under a special rule), that would
            4    expand the exemption for photographers, photojournalists, freelance writers, editors, and
            5    newspaper cartoonists by lifting the 35-submission limit for those industries. On
            6    February 6, 2020, she announced that she would “be rolling out a number of asks,
            7    initiatives and bill language to help ease the implementation of AB5” for selected
            8    businesses based on “hundreds of meetings” with interest groups. 53 Yet again, these
            9    proposed changes included no consideration of an exemption or other relief for network
          10     companies like Company Plaintiffs, whom she irrationally disfavored.
          11            91.   In addition, the Legislature proceeded to consider more than 30 bills that
          12     would amend AB 5, including dozens creating additional carve-outs for favored
          13     industries or workers, which were eventually added to AB 2257 as well. See, e.g., SB
          14     963, 2019-20 Reg. Sess. (Cal. 2020) (referees and umpires in youth sports). Still, AB
          15     5’s sponsors remained unwilling to even consider such an exemption for network
          16     companies and app-based drivers.
          17            92.   Their efforts to readily add exemptions for myriad industries while
          18     simultaneously refusing even to consider an exemption for the disfavored companies in
          19     the gig economy demonstrate their willingness to drastically narrow AB 5’s
          20     application—in contravention of its stated purpose—so long as it still burdens the targets
          21     of their irrational animus.      AB 5, AB 170, and AB 2257’s chief sponsor,
          22     Assemblywoman Gonzalez, made that clear, stating during the legislative debate over
          23     AB 2257’s revisions that she would consider specific amendments to the bill’s
          24     voluminous exemptions only if there was no way that “Uber will [be able to] just say”
          25
          26
          27     53
                      @LorenaSGonzalez, Twitter (Feb. 6, 2020, 1:14 p.m.), https://twitter.com/
          28          LorenaSGonzalez/status/1225528217487978503.
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            1    it might fall within them. 54 Among the “numerous” “explicit[] exempt[ions]” for
            2    “business sectors, professions, and commercial relationships,” the California Court of
            3    Appeal noted a “conspicuous absence of an express exemption for ride-sharing
            4    companies,” and had “little doubt the Legislature contemplated that those who drive for
            5    Uber and Lyft would be treated as employees under the ABC test.” 55
            6            93.   Assemblywoman Gonzalez’s reaction to Prop 22 also reflects the animus
            7    she harbors towards Plaintiffs.      She changed her name on Twitter to “Lorena
            8    #NoOnProp22,” and stated that she is “proud to stand …. against” the sponsors of Prop
            9    22, whom she called “greedy billion-dollar corporations that want to cheat [workers].”56
          10     She said that Uber is “coming for every middle class job left in America,” 57 and has
          11     “never done anything willfully to help [its] workforce.”58 She “liked” tweets calling
          12     Uber a “venture-capital monstrosit[y]” 59 and comparing its business model to
          13     Auschwitz60 and to a trolley running over workers gagged and bound to the tracks.61
          14
          15
          16     54
                      Cal. S. Comm. on Labor, Pub. Emp’t, & Ret., at 1:47:20-1:147:48 (Aug. 5, 2020)
          17          (statement of Lorena Gonzales), https://www.senate.ca.gov/media/senate-labor-
                      public-employment-retirement-committee-20200805/audio.
          18     55
                      People v. Uber Techs., Inc., 2020 WL 6193994, at *11, *16 (Cal. Ct. App. Oct. 22,
          19          2020).
          20
                 56
                      @LorenaSGonzalez,         Twitter    (Oct.     14,    2020,     6:21         p.m.),
                      https://twitter.com/LorenaSGonzalez/status/1316549690544910336.
          21     57
                      @LorenaSGonzalez,         Twitter     (Oct.     2,    2020,    8:38          a.m.),
          22          https://twitter.com/LorenaSGonzalez/status/1312054302802731008.
          23
                 58
                      @LorenaSGonzalez,         Twitter    (Oct.     15,    2020,     9:10         p.m.),
                      https://twitter.com/LorenaSGonzalez/status/1316954691700461568.
          24     59
                      @MattLech,          Twitter      (Oct.     15,     2020,         1:47        p.m.),
          25          https://twitter.com/MattLech/status/1316843148056854529.
          26
                 60
                      @RickPaulas,         Twitter      (Oct.     15,     2020,        11:42       a.m.),
                      https://twitter.com/RickPaulas/status/1316811652373852160.
          27     61
                      @daguilarcanabal,       Twitter       (Oct.    15,    2020,     10:05       a.m.),
          28          https://twitter.com/daguilarcanabal/status/1316787307777724417.
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            1    She retweeted another tweet (in which her picture appears) claiming that “Prop 22
            2    supports slave labor.”62
            3            94.   In short, the principal legislative supporters and lobbyists behind AB 5 have
            4    had one goal in mind: target network companies for disfavored treatment. 63
            5    V.      California Legislators Pass AB 2257 to Further Exempt Millions More
                         California Workers, Including Many Referral Agencies, While Expressly
            6
                         Excluding Referral Agencies That Facilitate Transportation, Courier, or
            7            Delivery Services.
            8            95.   AB 2257 added a laundry list of new occupations, rolling back the
            9    protections of the ABC test for millions more California workers. See AB 2257 §§ 1, 2
          10     (repealing Cal. Lab. Code § 2750.3 and replacing it with new sections containing new
          11     exemptions).
          12             96.   AB 2257 created several entirely new categories of exemptions while
          13     expanding others. The new categories include:
          14                   a. The following occupations related to sound recordings or musical
          15                      compositions:
          16                          i. recording artists, subject to certain conditions;
          17                         ii. songwriters, lyricists, composers, and proofers;
          18                         iii. managers of recording artists;
          19
          20
                 62
                      @shamannwalton,         Twitter     (Oct.     12,   2020,     10:36             a.m.),
          21          https://twitter.com/shamannwalton/status/1315707953769410560.
          22     63
                      This animus is a widely recognized fact. See, e.g., David Brunori, Contractors,
                      Employees and the Sharing Economy: SALT in Review, Law360.com (Sept. 20,
          23          2019),          https://www.law360.com/tax-authority/articles/1201352/contractors-
                      employees-and-the-sharing-economy-salt-in-review (“While [AB 5] does not
          24          actually say it, it is clearly aimed at modern companies like Uber and Lyft—and
                      increasingly more businesses in the sharing economy space.”); Bonnie Kristian, How
          25          California’s New Gig Economy Law Could Put Freelancers Out of Business (Oct.
                      24, 2019), https://theweek.com/articles/873453/how-californias-new-gig-economy-
          26          law-could-freelancers-business (“A.B. 5’s primary target is gig employers like
                      ridesharing apps Uber and Lyft, whose drivers are classified as contract workers, not
          27          employees.”); Rachel Uranga, Port Truckers Brake for AB 5, L.A. Bus. J. (Oct. 4,
                      2019),           https://labusinessjournal.com/news/2019/oct/04/port-truckers-brake-
          28          ab5logistics-companies-drivers/ (“AB5 takes direct aim at ride-share services Uber
                      Technologies Inc. and Lyft Inc ….”).
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            1                     iv. record producers and directors;
            2                      v. musical engineers and mixers engaged in the creation of sound
            3                          recordings;
            4                     vi. musicians engaged in the creation of sound recordings, subject to
            5                          certain conditions;
            6                     vii. vocalists, subject to certain conditions;
            7                    viii. photographers working on recording photo shoots, album covers,
            8                          and other press and publicity purposes;
            9                     ix. independent radio promoters; and
          10                       x. any other individual engaged to render any creative, production,
          11                           marketing, or independent music publicist services related
          12                           primarily to the creation, marketing, promotion, or distribution of
          13                           sound recordings or musical compositions. See Cal. Lab. Code
          14                           § 2780(a)(1)(A)–⁠(J).
          15                 b. Musicians or musical groups participating in single-engagement live
          16                    performance events, subject to certain conditions. See id. § 2780(b).
          17                 c. Individual performance artists, subject to certain conditions. See id.
          18                    § 2780(c)(1).
          19                 d. The relationship between data aggregators and individuals providing
          20                    feedback to data aggregators, subject to certain conditions. See id.
          21                    § 2782(a).
          22                 e. “[T]he relationship between two individuals where[] each individual is
          23                    acting as a sole proprietor or separate business entity … performing
          24                    work pursuant to a contract for purposes of providing services at the
          25                    location of a single-engagement event,” subject to certain conditions.
          26                    Id. § 2779.
          27           97.   AB 2257 expanded the exemption for licensed professions to include the
          28     following additional occupations:

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            1                a. “[P]erson[s] who provide[] underwriting inspections, premium audits,
            2                    risk management, or loss control work for the insurance and financial
            3                    service industries.” Id. § 2783(a).
            4                b. Licensed landscape architects. See id. § 2783(c).
            5                c. Manufactured housing salespeople. See id. § 2783(f).
            6                d. People working for foreign exchange programs. See id. § 2783(i).
            7                e. Amateur umpires, referees, and other competition judges.           See id.
            8                    § 2783(j).
            9          98.   AB 2257 also expanded the exemption for contracts for professional
          10     services to include services provided by:
          11                 a. Videographers and photo editors, subject to certain conditions. See id.
          12                     § 2778(b)(2)(I)(i).
          13                 b. Photographers, photojournalists, videographers, and photo editors when
          14                     providing content to a digital content aggregator.               See id.
          15                     § 2778(b)(2)(I)(ii).
          16                 c. Translators, copy editors, and illustrators, subject to certain conditions.
          17                     See id. § 2778(b)(2)(J).
          18                 d. Content contributors, advisors, producers, narrators, and cartographers
          19                     who provide services for journals, books, periodicals, evaluations, or
          20                     other publications, or for educational, academic, or instructional works
          21                     in any format or media, subject to certain conditions.            See id.
          22                     § 2778(b)(2)(K).
          23                 e. “Master class” teachers. See id. § 2778(b)(2)(M).
          24                 f. Appraisers. See id. § 2778(b)(2)(N).
          25                 g. Registered, licensed professional foresters. See id. § 2778(b)(2)(O).
          26           99.   AB 2257 also expanded the exemption for occupations subject to the
          27     Business and Profession Code to include home inspectors as defined in Section 7195 of
          28     the Business and Professions Code. Cal. Lab. Code § 2778(b)(2).

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            1          100. AB 2257 also expanded the exemption for business-to-business contracts
            2    to include contracts between businesses and public agencies and businesses and quasi-
            3    public corporations. Id. § 2776(a).
            4          101. Finally, AB 2257 dramatically expanded the exemption for referral
            5    agencies and service providers, expressly including any and all referral agencies that
            6    meet its requirements except a handful of disfavored referral agencies like Plaintiffs (see
            7    id. § 2777(b)(2)(B) (“Under this subparagraph, referrals for services shall include, but
            8    are not limited to ….” (emphasis added))), and adding the following enumerated services
            9    expressly exempted:
          10                     a. Web design,
          11                     b. Consulting,
          12                     c. Youth sports coaching,
          13                     d. Caddying,
          14                     e. Wedding planning,
          15                     f. Wedding and event vendors, and
          16                     g. Interpreting services.
          17     See id.
          18           102. Like AB 5, AB 2257 continued to single out Plaintiffs for disfavored
          19     treatment while making its sponsors’ irrational targeting even more express. Even as
          20     AB 2257 dramatically expanded the breadth of the referral agency exemption, it also
          21     added new language providing that referrals for services “do not include” “delivery,
          22     courier, [or] transportation” services. Id. §§ 2777(b)(2)(C), 2779(c). This language was
          23     added specifically to exclude companies like Plaintiffs, after this Court had previously
          24     noted that “[f]ood delivery for Uber Eats and Postmates would likely fall under” the
          25     referral exemption for “people who run errands.” Prelim. Inj. Hr’g Tr. at 9:5–7; see also
          26     Cal. Lab. Code § 2777(b)(2)(B) (“[R]eferrals for services shall include … errands ….”).
          27           103. But for the irrational exclusion in AB 2257, Plaintiffs would have fallen
          28     within the AB 5 version of the referral exemption because picking people up and

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            1    dropping them off, picking up food, and delivering groceries are all “errands,” and all
            2    the other referrals exemption criteria were met.
            3            104. This new version of the referral agency exemption arbitrarily excluded
            4    Uber and Postmates while exempting other errands-based apps like TaskRabbit (on-
            5    demand help with everyday tasks, including cleaning and handyman work) and Wag!
            6    (on-demand dog walking). All four platform apps are designed to refer customers
            7    looking for services to service providers willing to provide them. The service providers
            8    who use TaskRabbit and Wag! have the same patterns of use as the “drivers” and
            9    “couriers” who use Uber and Postmates; some of the service providers use the apps to
          10     work roughly the same number of hours as they would at a traditional 9-to-5 job, while
          11     others use them only occasionally. The relationship between the service providers and
          12     their customers who connect via the apps is also the same: While some customers
          13     develop relationships with particular service providers, most just log into the app to find
          14     whoever is available when they happen to need the service. In fact, the apps are so
          15     similar that Wag! is sometimes referred to as “Uber for dogs.” 64 There is simply no
          16     rational basis for treating Uber and Postmates differently from other errands-based apps
          17     or the specified and limitless other types of platforms that will now qualify for exemption
          18     under the open-ended structure of the referral agency exemption.
          19             105. The exemption for tutors was also expanded to include not only those who
          20     develop and teach their own curriculum, but also those who “teach[] curriculum that is
          21     proprietarily and privately developed, or provide[] private instruction or supplemental
          22     academic enrichment services by using their own teaching methodology or techniques.”
          23     Id. § 2777(b)(5). The new, expanded exemption even covers tutors who teach school-
          24
          25
                 64
                      See, e.g., Ruth Brown, ‘Uber for Dogs’ App Has Lost 3 NYC Pooches in a Month,
          26          N.Y. Post (Mar. 9, 2018), https://nypost.com/2018/03/09/uber-for-dogs-app-has-
                      lost-3-nyc-pooches-in-a-month/ (referring to “Wag” as “the app known as ‘the Uber
          27          of dog-walking’”); Dante Ramos, Can ‘Uber for Dogs’ Overcome the Fear of
                      Strangers?, Bos. Globe (July 13, 2018), https://www.bostonglobe.com/opinion/
          28          2018/07/13/can-uber-for-dogs-overcome-fear-strangers/sd7ojO1ZrVs5iITTvblkPL/
                      story.html (“Wag is like Uber: a dispatching app … within a given market ….”).
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            1    created curriculums, so long as the tutors do not contract with the schools to teach
            2    students in a classroom setting. Id.
            3          106. All of these millions of newly exempted workers have lost the purported
            4    protection they once enjoyed under the Dynamex decision and are now subject to the
            5    Borello standard that AB 5’s sponsors said was insufficient to protect workers. This
            6    morass of exemptions simply underscores that the Legislature’s purpose in passing these
            7    amendments was to harm Plaintiffs, not protect workers. Indeed, it even went so far as
            8    to ensure that untold and unidentified referral agencies that have not even been created
            9    yet would be exempt from the law so long as they were not Plaintiffs.
          10           107. AB 2257 further reenacted most of the irrational distinctions of AB 5 and
          11     minted a laundry list of new ones, picking winners and losers between similarly situated,
          12     and even identical, occupations. For example, the law exempts “photographer[s],
          13     photojournalist[s], videographer[s], or photo editor[s]” who meet certain conditions, but
          14     not “photographer[s], photojournalist[s], videographer[s], or photo editor[s]” who meet
          15     those same conditions, but happen to work in the “motion picture[]” industry. Cal. Lab.
          16     Code § 2778(b)(2)(I)(i). AB 2257 also exempts “photographers” who shoot “album
          17     covers” (Cal Lab. Code § 2780(a)(1)(H)), but not “photographers” who work in “[f]ilm
          18     or television” (Cal. Lab. Code § 2780 (a)(2)(A)). And while AB 2257 does not exempt
          19     “publicists” (Cal. Lab. Code § 2780(a)(2)(B)), it does exempt “independent music
          20     publicists” (Cal. Lab. Code § 2780(a)(1)(J)). Similarly, musical groups performing in
          21     single-engagement live events are exempt if they’re a rock band, a jazz ensemble, or a
          22     choir, but not if they’re a symphony orchestra. Cal. Lab. Code § 2780(b)(1)(A). Brass
          23     bands who perform at live, single-engagement events are exempt if they perform in a
          24     stadium, but not if they perform at an amusement park. Id. And musicians who perform
          25     at live, single-engagement events are exempt if they perform in ballets, but not if they
          26     perform in musical theatre productions. Id. There is simply no rational explanation for
          27     treating these similar, and even identical, occupations differently, particularly when they
          28     meet the same conditions.

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            1            108. Like AB 5, AB 2257 also relies on arbitrary cut-offs. Musical groups
            2    headlining single-engagement live performance events are exempt if there are 1,500
            3    spectators, but not if there are 1,501. Cal. Lab. Code § 2780(b)(1)(B). They are also
            4    exempt if they perform at a festival that sells 18,000 tickets per day, but not if they
            5    perform at a festival that sells 18,001. Cal. Lab. Code § 2780(b)(1)(C).
            6            109. And yet, in commenting on the preliminary injunction that almost shut
            7    down Uber and Lyft in California based on AB 5, Assemblywoman Gonzalez stated that
            8    “no one [wa]s forcing Uber and Lyft to throw hundreds of thousands of workers out in
            9    the cold,” and that it would be a “[s]hame on th[ose] corporations” and “a mean-spirited
          10     tactic” for them to seek any “special exemption” from AB 5 or AB 2257. 65 She further
          11     exhorted that “Uber & Lyft can quit crying now & work on reclassifying their drivers as
          12     employees,” again declaring “[s]hame on them” for highlighting the job losses that
          13     would result from the enforcement of AB 5 against them in the manner she intended.66
          14     These comments, among others, stand in stark contrast to her treatment of other
          15     industries and reveal her intent to target and harm only network companies by the
          16     passage of AB 5.
          17             110. Assemblywoman Gonzalez further has said the intent of AB 5 was to target
          18     disfavored network companies like Plaintiffs and the new exemptions were meant to
          19     exclude groups that were merely “caught up” by that objective. She promised AB 2257
          20     would “provide relief for individuals and individual areas that really did get caught up”
          21     and to “fix” AB 5 to focus on “companies like Uber and Lyft.” 67
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                      Laura Acevedo, Uber, Lyft Could Shut Down in California Over AB5, ABC News
          24          (Aug. 20, 2020), https://www.10news.com/news/local-news/uber-lyft-could-shut-
                      down-in-california-over-ab5.
          25
                 66
                      Matt Reynolds, Uber and Lyft Avoid Shutdown After Court Delays Injunction, Am.
          26          Bar Ass’n (Aug. 21, 2020), https://www.abajournal.com/news/article/uber-and-lyft-
                      avoid-shutdown-after-court-delays-injunction.
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                 67
                      Cal. Assemb. Comm. on Labor & Emp’t, at 32:50–33:17, 34:39–35:49 (May 20,
          28          2020) (statement of Lorena Gonzalez), https://www.assembly.ca.gov/media/
                      assembly-labor-employment-committee-20200520/audio.
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            1            111. For example, AB 2257 removed the 35-article limit for journalists and
            2    freelance writers in response to a lawsuit brought by them in part under the Equal
            3    Protection Clauses of the United States and California Constitutions, apparently in
            4    recognition that AB 5’s exemption was entirely irrational and AB 5 might be found
            5    unconstitutional as a result. See Cal. Lab. Code § 2778(b)(2)(J).
            6            112. In the words of Assemblywoman Gonzalez, the purpose behind AB 2257
            7    was to “provide relief to the writers who reached out to me. They were right. I was
            8    wrong. We’re trying to make sure they can fulfill their situation as soon as possible.
            9    The musicians who work so hard. … We never intended for a band member to be
          10     another band member’s employee if they’re … just playing on the weekends or here and
          11     there. You know, we are working through these.”68 She touted that the new and
          12     expanded exemptions would provide “[m]ore flexibility for musicians, journalists,
          13     photographers, creatives, interpreters & translators.”69
          14             113. The Legislature also made AB 2257’s new exemptions retroactive and took
          15     extraordinary “urgency” legislative measures to ensure the bill’s multitude of new
          16     exemptions and specific exclusion of Plaintiffs from the revised referral agency
          17     exemption would provide immediate relief to all the newly exempted categories and
          18     prevent Plaintiffs from asserting the referral agency exemption as part of their defense
          19     strategy in ongoing and active AB 5 litigation, as Plaintiffs had been doing to that point.
          20             114. As one California senator warned during the bill’s passage, AB 2257
          21     “den[ied] … the equal protection of the laws” because, as “[legislators] [had] been
          22     saying … all along,” the bill “picked winners and losers,” creating carveouts for some,
          23     while “leav[ing] out … thousands” of others. 70
          24
          25     68
                      Id. at 2:02:26–2:03:06.
          26     69
                      @LorenaSGonzalez,          Twitter     (Sept.    4,    2020,    3:27           a.m.),
                      https://twitter.com/lorenasgonzalez/status/1302010300615417856.
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                      Cal. Senate Floor Session, at 5:17:40–5:18:19 (August 31, 2020) (statement of
          28          Patricia      Bates),      https://www.senate.ca.gov/media/senate-floor-session-
                      20200831/audio.
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            1    VI.   Substantial Civil and Criminal Penalties May Attach to State and Private
            2          Enforcement Actions against Plaintiffs.

            3          115. As explained above, AB 5 codified the ABC test in a new Section 2750.3
            4    of the Labor Code, which AB 2257 renumbered as Section 2775(b) of the Labor Code.
            5    Dozens of provisions of the Labor Code provide criminal penalties for violations, in
            6    addition to any civil penalties that also may attach.
            7          116. A few examples of the criminal penalties in the Labor Code that network
            8    companies could be threatened with if Defendants continue to try to enforce AB 5, now
            9    as amended by AB 2257, against them in the manner consistent with the sponsors’ stated
          10     intent include:
          11                  a. Labor Code § 553: Misdemeanor for violation of provisions related
          12                       to overtime, meal periods, alternative workweeks, makeup work
          13                       time, and rest days.
          14                  b. Labor Code § 1199: Misdemeanor punishable by a fine and/or
          15                       imprisonment for up to 30 days for failing to pay minimum wage.
          16                  c. Labor Code § 225: Misdemeanor for violating certain provisions
          17                       regarding wage withholdings.
          18                  d. Labor Code § 226.6: Misdemeanor punishable by a fine of up to
          19                       $1,000 and/or imprisonment of up to one year for failing to comply
          20                       with itemized paystub requirements.
          21                  e. Labor Code § 227: Felony punishable by imprisonment of up to five
          22                       years and/or a fine of up to $1,000 for failing to make certain
          23                       required payments to a health or welfare fund, pension fund,
          24                       vacation plan, or similar benefit fund.
          25           117. AB 5 also extended the ABC test to the Unemployment Insurance Code,
          26     which imposes civil penalties for various violations, including:
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            1                  a. Unemployment Insurance Code § 1088.5(e): Fine of $24 per
            2                      employee for failing to report the employee’s hire within a specified
            3                      time.
            4                  b. Unemployment Insurance Code § 1112(a): Penalty of 15% for
            5                      failure to pay unemployment contributions when due.
            6                  c. Unemployment Insurance Code § 1126.1: Fine of $100 per
            7                      unreported employee for failure to register as an employer.
            8            118. The Private Attorneys General Act also authorizes employees to sue to
            9    recover civil penalties for Labor Code violations, including misclassification. See
          10     Cal. Labor Code § 2698 et seq. Employees may sue on behalf of themselves, other
          11     employees, or the State of California. In addition to seeking any civil penalties that
          12     the Labor and Workforce Development Agency may assess under the Labor Code,
          13     the Act allows the private plaintiffs to seek a civil penalty of $100 “for each
          14     aggrieved employee per pay period” for an “initial violation,” and $200 “for each
          15     aggrieved employee per pay period for each subsequent violation.” Id. § 2699(f)(2).
          16             119. The Labor Code further allows the Labor Commissioner to seek similar
          17     penalties. On August 5, 2020, the Labor Commissioner sued Plaintiff Uber in
          18     reliance on AB 5’s arbitrary classifications, seeking such damages and penalties.
          19     Garcia-Brower v. Uber Techs., Inc., No. RG 20070281 (Cal. Sup. Ct. Alameda Cty).
          20     VII. The People of California Approve Proposition 22.
          21             120. On November 3, 2020, the People of California decisively approved Prop
          22     22, repudiating AB 5’s and AB 2257’s disparate treatment of Plaintiffs. Although the
          23     final tally has not yet been certified, it stands at 58.5% Yes with 100% of precincts
          24     reporting, and every major news outlet has called it as approved. 71 “Results will be
          25
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                      Cal. Sec’y of State, State Ballot Measures - Statewide Results,
                      https://electionresults.sos.ca.gov/returns/ballot-measures (last visited Nov. 9, 2020);
          27          e.g., Kate Conger, Uber and Lyft Drivers in California Will Remain Contractors,
                      N.Y.                 Times                 (Nov.               4,                2020),
          28          https://www.nytimes.com/2020/11/04/technology/california-uber-lyft-prop-
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            1    certified by December 11, 2020.” 72 Prop 22 will take effect on “the fifth date after the
            2    Secretary of State files the statement of the vote.”73
            3               121. Prop 22’s core purpose is “to protect the basic legal right of Californians to
            4    choose to work as independent contractors with rideshare and delivery network
            5    companies throughout the state.”74          In approving Prop 22, the voters found that
            6    “[h]undreds of thousands of Californians” are using app-based rideshare and delivery
            7    platforms “as a means of earning income while maintaining the flexibility to decide
            8    when, where, and how they work.”75 These workers include, for example, “parents who
            9    want to work flexible schedules while children are in school; students who want to earn
          10     money in between classes; retirees who rideshare or deliver a few hours a week to
          11     supplement fixed incomes and for social interaction; military spouses and partners who
          12     frequently relocate; and families struggling with California’s high cost of living that
          13     need to earn extra income.” And the People reaffirmed that “[m]illions of California
          14     consumers and businesses, and our state’s economy as a whole, also benefit from the
          15     services of people who work as independent contractors using app-based rideshare and
          16     delivery platforms.” 76       These many benefits include “convenient and affordable
          17     transportation for the public, reducing impaired and drunk driving, improving mobility
          18     for seniors and individuals with disabilities, providing new transportation options for
          19
                      22.html; Taryn Luna, California Voters Approve Prop. 22, Allowing Uber and Lyft
          20          Drivers to Remain Independent Contractors, L.A. Times (Nov. 4, 2020),
                      https://www.latimes.com/california/story/2020-11-03/2020-california-election-
          21          tracking-prop-22; Carolyn Said, Proposition 22, California Gig-Work Ballot
                      Measure Backed by Uber and Lyft, Passes, San Fran. Chron. (Nov. 4, 2020),
          22          https://www.sfchronicle.com/politics/article/Proposition-22-California-gig-work-
                      ballot-15699651.php.
          23     72
                      Alex Padilla, What to Expect During the California Vote Count Process, Oct. 29,
          24          2020, https://admin.cdn.sos.ca.gov/press-releases/2020/ap20-107.pdf.
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                 73
                      Cal. Const. art. II § 10(a).
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                 74
                      Proposition 22 art. 1 (adding Cal. Bus. & Prof. Code § 7450).
                 75
          27          Id.
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          28          Id.
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            1    families who cannot afford a vehicle, and providing new affordable and convenient
            2    delivery options for grocery stores, restaurants, retailers, and other local businesses and
            3    their patrons.” 77
            4               122. The voters further found that, despite the overwhelming benefits of app-
            5    based independent work, “recent legislation” like AB 5 and AB 2257 “has threatened to
            6    take away the flexible work opportunities of hundreds of thousands of Californians,
            7    potentially forcing them into set shifts and mandatory hours, taking away their ability to
            8    make their own decisions about the jobs they take and the hours they work.”78 Thus,
            9    “[p]rotecting the ability of Californians to work as independent contractors throughout
          10     the state using app-based rideshare and delivery platforms is necessary” to preserve their
          11     autonomy and independence and “preserv[e] access to app-based rideshare and delivery
          12     services that are beneficial to consumers, small businesses, and the California
          13     economy.” 79
          14                123. Accordingly, Prop 22 classifies service providers who use rideshare and
          15     delivery apps to find leads, like Ms. Olson and Mr. Perez, as independent contractors.
          16     Specifically, it provides that “an app-based driver is an independent contractor and not
          17     an employee or agent with respect to the app-based driver’s relationship with a network
          18     company” if four conditions are met: (1) the network company “does not unilaterally
          19     prescribe” when drivers “must be logged into the” app; it (2) “does not require the app-
          20     based driver to accept any specific rideshare service … request”; it (3) “does not restrict
          21     the app-based driver from performing rideshare services” using other apps; and it (4)
          22     “does not restrict the app-based driver from working in any other lawful occupation or
          23     business.” 80 Thus, independent service providers who use Company Plaintiffs’ apps are
          24
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                 77
                      Id.
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                 78
                      Id.
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                 79
                      Id.
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                      Id. art. 2.
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            1    independent contractors, not employees. Prop 22 explicitly displaces previous law on
            2    this point: App-based drivers are independent contractors “notwithstanding any other
            3    provision of law, including, but not limited to, the Labor Code, the Unemployment
            4    Insurance Code, and any orders, regulations, or opinions of the Department of Industrial
            5    Relations or any board, division, or commission within the Department of Industrial
            6    Relations”—i.e., notwithstanding AB 5, AB 170, and AB 2257 (or any other provision
            7    of law).81
            8               124. Prop 22 also recognizes that app-based independent service providers
            9    “deserve economic security.” 82 Thus, in addition to protecting their freedom, Prop 22
          10     provides these service providers with a wide range of new benefits and protections not
          11     available under current law. These include minimum compensation levels, insurance to
          12     cover on-the-job injuries, automobile accident insurance, health care subsidies for
          13     qualifying drivers, protection against harassment and discrimination, and mandatory
          14     contractual rights and appeal processes.83
          15     VIII. Defendants Are Enforcing California’s Irrational Worker-Classification
          16           Scheme Against Plaintiffs, Flying in the Face of the People’s Expressed Will.

          17                125. California legislative and executive officials are nonetheless attempting to

          18     nullify the People’s will, enshrined into law through Prop 22, by continuing to attempt

          19     to enforce the now-superseded AB 5, AB 170, and AB 2257 against Plaintiffs.

          20                126. Assemblywoman Gonzalez explicitly added authorization for the city

          21     attorneys of California’s largest cities to bring enforcement actions under AB 5 against

          22     Plaintiffs—later expanded in AB 2257 to include district attorneys as well.

          23                127. On May 5, 2020, California Attorney General (Defendant Becerra), along

          24     with city attorneys, brought an action against Plaintiff Uber and Lyft under AB 5,

          25
          26
                 81
                      Id.
          27
                 82
                      Id. art. 1.
          28
                 83
                      See id. art. 4.
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            1    seeking reclassification of all on-demand workers who use their rideshare apps from
            2    independent workers to employees, restitution, and penalties.
            3            128. On June 25, 2020, Defendants also sought an unprecedented mandatory
            4    preliminary injunction under AB 5 against Plaintiff Uber (as well as network company
            5    Lyft) to force the immediate reclassification of all app-based drivers who use their
            6    rideshare platforms to employees. They did not cite a single case from any jurisdiction
            7    that had ever ordered such a mass reclassification of any group of workers on a
            8    preliminary basis before a full and fair trial and fact-gathering. Defendant Becerra has
            9    not brought a similar action against any other type of platform company.
          10             129. Plaintiffs have always asserted and continue to assert that AB 5’s worker-
          11     classification scheme is a vague and incoherent statute that does not accomplish what its
          12     sponsors have stated they sought to achieve. Plaintiffs maintain that (among other
          13     things) they are not and never were hiring entities under its classification scheme and
          14     can establish that the independent service providers who use their platforms are not
          15     employees under the ABC test. 84
          16             130. Nevertheless, the enforcers of California worker-classification laws (such
          17     as Defendant Becerra) have sought irrationally to enforce the statutes against Plaintiff
          18     Uber and continue to threaten to do the same against Plaintiff Postmates—even after the
          19     People decisively approved Prop 22.
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                      In arbitrations in California and New York, Plaintiffs have prevailed in establishing
                      that the app-based drivers who use their platforms are not employees under the “ABC
          23          test.” The federal government has likewise concluded that independent service
                      providers are not employees under the Federal Labor Standards Act or the National
          24          Labor Relations Act. See U.S. Dep’t of Labor, Wage & Hour Div., Opinion Letter
                      FLSA2019-6, at 7 (Apr. 29, 2019) (recognizing that app-based on-demand workers
          25          are “independent contractors” under the Fair Labor Standards Act); Advice
                      Memorandum from Jayme L. Sophir, Assoc. Gen. Counsel, Div. of Advice, Nat’l
          26          Labor Relations Bd. to Jill Coffman, Reg’l Dir., Region 20, Nat’l Labor Relations
                      Bd. 15 (Apr. 16, 2019) (concluding that UberX and UberBLACK drivers are
          27          independent contractors under the National Labor Relations Act). Nothing in this
                      Complaint should be read to waive or forfeit any argument Plaintiffs would make in
          28          an enforcement action brought against them under AB 5 or otherwise.
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            1            131. In particular, on August 10, 2020, the San Francisco Superior Court entered
            2    a preliminary injunction against Uber that, among other things, “enjoined and restrained
            3    [Uber and Lyft] from reclassifying their Drivers as independent contractors” under AB
            4    5 “[d]uring the pendency of th[e] action.” 85 The California Court of Appeal affirmed
            5    the trial court’s order, even after recounting evidence of various harms to Uber, drivers,
            6    and the public, and in spite of its assumption that “the harm to defendants could be fairly
            7    considered grave or irreparable.”86
            8            132. Although Prop 22 classifies independent service providers who use app-
            9    based rideshare and delivery apps as independent contractors going forward, Defendants
          10     still intend to seek penalties for the time period prior to Prop 22’s approval. 87 For
          11     example, even after Prop 22’s approval, Defendants continue to litigate their
          12     enforcement action against Uber and Lyft, and there are private suits brought under these
          13     unconstitutional laws still pending against Plaintiffs.88
          14             133. And Defendants have not agreed to vacate the forward-looking injunction
          15     they received under AB 5—even though the injunction cannot stand under Prop 22. To
          16     the contrary, three days after the voters overwhelmingly passed Prop 22, the California
          17     Labor Commissioner filed an amended complaint in a wage-and-hour suit against
          18     Plaintiff Uber that continues to seek forward-looking injunctive relief to force Uber to
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          20     85
                      People v. Uber Techs., Inc., 2020 WL 5440308, at *18 (Cal. Super. Ct. Aug. 10,
          21          2020).
          22
                 86
                      People v. Uber Techs., Inc., 2020 WL 6193994, at *1, *20, *22 & n.22 (Cal. Ct. App.
                      Oct. 22, 2020).
          23     87
                      Conger, supra note 9 (indicating that the state will “continue to seek penalties for the
          24          time between January and the certification of the election results.”).
          25
                 88
                      See Joel Rosenblatt, Robert Wilkens-Iafolla, & Erin Mulvaney, Uber Won Its Prized
                      Contractor Status for Drivers. Now What?, Bloomberg (Nov. 4, 2020),
          26          https://www.bloomberg.com/news/articles/2020-11-04/uber-won-its-prized-
                      contractor-status-for-drivers-now-what?sref=YPmZkkO0 (quoting attorney who has
          27          repeatedly sued network companies like Uber for alleged misclassification as opining
                      that the “majority” of service providers who use ride-sharing and delivery apps “can
          28          still sue” for claims arising before Prop 22’s approval).
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            1    treat drivers as employees based on AB 5. And two days after Prop 22 passed, the San
            2    Francisco District Attorney’s Office refused to withdraw its motion for a preliminary
            3    injunction to force another network company to reclassify app-based drivers—arguing
            4    that, notwithstanding the decision of the voters of California, it is possible “there is still
            5    very much a piece of the preliminary injunction that is alive” under AB 5. 89 Defendants’
            6    persistent enforcement of AB 5, after Prop 22 superseded it, is an affront to the will of
            7    the People and to the democratic process the California Constitution enshrined as a direct
            8    means for the People to supersede the whims of government officials.
            9           134. The ongoing enforcement of the now-superseded worker-classification
          10     scheme against Plaintiffs is imposing economic, administrative, and other costs on
          11     Plaintiffs. Defendants have obtained a preliminary injunction against Plaintiff Uber
          12     based on that unconstitutional law that would (at minimum) cause the loss of millions
          13     of earning opportunities for Californians who rely on the apps and (at minimum)
          14     immediately restrict more than 158,000 drivers from using Plaintiff Uber’s rideshare app
          15     alone. Although that injunction cannot stand in light of Prop 22, Defendants have not
          16     agreed to withdraw the injunction. And Defendants continue to try to enforce the law
          17     against Uber, seeking penalties for alleged violations of AB 5 and AB 2257 prior to Prop
          18     22’s approval.
          19            135. Assemblywoman Gonzalez likewise has refused to accept the outcome of
          20     the passage of Prop 22 and continues to threaten Plaintiffs publicly with new “ideas” to
          21     target and punish them. Specifically, after California voters decisively adopted Prop 22,
          22     she went on a Twitter rant professing that she had “ideas” to further target Plaintiffs and
          23     would continue to fight specifically against Plaintiff Uber (by name) “in CA and
          24
          25
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          27     89
                      Hannah Albarazi, DoorDash Judge Calls Prop 22 “Game Changer” in California’s
          28          Suit, Law360 (Nov. 6, 2020).
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            1    Nationally.” 90 She further retweeted several posts from “No on Prop 22” campaign
            2    organizations (and an individual who frivolously sued Uber to try to impose a prior
            3    restraint on Uber’s political speech in support of Prop 22 on the cusp of the election),
            4    asserting Uber had not “seen the last of us” and “the fight isn’t over.” 91 And she called
            5    into question the validity of the voters’ choice for Prop 22 and the election results, stating
            6    the “modern-day transportation barons” “abused” “the initiative process in California”
            7    and implied that it was “dangerous” to allow them to participate “in politics.”92 She also
            8    retweeted or liked several claims that specifically stated app-based drivers still “should
            9    be employees,” affirming she believed “[e]very Californian should be personally
          10     embarrassed by this vote,” and accusing Plaintiff Uber (by name) of owing hundreds of
          11     millions of dollars to California despite Prop 22 and demanding it “pay up.” 93 She
          12     further retweeted a satirical article she claimed got it “more or less” right that Prop 22
          13     allowed “Uber, Lyft to Categorize Workers as Car Parts.”94
          14     IX.     Defendants Are Irreparably Harming Plaintiffs.
          15             136. Defendants’ efforts to enforce the now-superseded worker-classification
          16     scheme against Company Plaintiffs is imposing economic, administrative, and other
          17
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                      @LorenaSGonzalez, Twitter (Nov. 4, 2020 6:24 a.m.), https://twitter.com/LorenaS
          19          Gonzalez/status/1323994571466928128; id. (Nov. 3, 2020 9:59 p.m.), https://twitter.
                      com/LorenaSGonzalez/status/1323867505815740417.
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                 91
                      @wedriveprogress (Nov. 4, 2020 12:11 p.m.), https://twitter.com/wedriveprogress
          21          /status/1324066797755101184; id. (Nov. 4, 2020 12:09 p.m.), https://twitter.com/
                      wedriveprogress/status/1324066297815072768.
          22
                 92
                      @LorenaSGonzalez, Twitter (Nov. 5, 2020, 7:52 p.m.), https://twitter.com/LorenaS
          23          Gonzalez/status/1324545260672802816.
          24     93
                      See, e.g., @LorenaSGonzalez, Twitter (Nov. 5, 2020, 3:26 p.m.) (retweet from
                      @gigworkersrise), https://twitter.com/GigWorkersRise/status/13244782719673057
          25          28; @LorenaSGonzalez, Twitter (Nov. 5, 2020, 3:55 p.m.), https://twitter.com/
                      saraflocks/status/1324485564238737408 (liking tweet from @saraflocks);
          26          @LorenaSGonzalez, Twitter (Nov. 4, 2020, 9:55 p.m.),
                      https://twitter.com/ncougoule/status/1324228802377998339 (liking tweet from
          27          @ncougoule).
          28     94
                      @LorenaSGonzalez, Twitter (Nov. 4, 2020, 7:42 p.m.), https://twitter.com/LorenaS
                      Gonzalez/status/1324180263174172672.
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            1    costs on network companies such as Plaintiff Uber. Defending against enforcement
            2    actions brought under unconstitutional statutes that explicitly do not apply to Plaintiffs
            3    is costing untold sums of money and attention.
            4          137. Moreover, Defendants are, incredibly, still seeking to force reclassification
            5    of app-based drivers as employees—in spite of the People’s clear, decisive, and legally
            6    binding pronouncement that “an app-based driver is an independent contractor.”
            7    Compelled reclassification of drivers who use the Uber app would force Uber to
            8    discontinue operations in California for a significant period of time.               This
            9    discontinuation will cause the loss of millions of earning opportunities for Californians
          10     who rely on the apps and (at minimum) immediately restrict more than 158,000 drivers
          11     from using Plaintiff Uber’s rideshare app alone. For some companies, the burdens of
          12     restructuring their businesses and the potential penalties from the threatened
          13     enforcement of the classification framework could force them to stop doing business in
          14     California.
          15           138. Company Plaintiffs, and many other similarly situated companies in
          16     California and across the country, built their businesses by creating apps, websites, and
          17     other technologies for the on-demand economy. These companies operate on-demand
          18     app-based platforms that connect those willing to pay for a service with those willing to
          19     provide it. It is because independent service providers have the flexibility, freedom, and
          20     independence to pick and choose which jobs they want to perform and when they want
          21     to perform them that the business model has been so successful. Inevitably, forced
          22     reclassification would eliminate the flexibility and entrepreneurship that is the
          23     foundation of platform-based work.
          24           139. Forced reclassification of workers who use Company Plaintiffs’ platforms
          25     would harm many app-based drivers who need or prefer to provide services on their own
          26     schedules via the platforms that network companies operate—directly contrary to the
          27     People’s expressed will “[t]o protect the basic legal right of Californians to choose to
          28     work as independent contractors with rideshare and delivery network companies

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            1    throughout the state” and “[t]o protect the individual right of every app-based rideshare
            2    and delivery driver to have the flexibility to set their own hours for when, where, and
            3    how they work.”
            4          140. App-based drivers currently enjoy the freedom and flexibility to use
            5    multiple competitor apps simultaneously to maximize income, a practice known as
            6    “multi-apping.” Multi-apping is fundamentally impossible in an employer-employee
            7    relationship for a number of reasons. An employee owes her employer a duty of
            8    loyalty—that is, undivided allegiance during the term of the relationship. Fowler v.
            9    Varian Assocs., Inc., 196 Cal. App. 3d 34, 41 (1987); Erhart v. BofI Holding, Inc., 387
          10     F. Supp. 3d 1046, 1055 (S.D. Cal. 2019); see also Cal. Lab. Code § 2863 (“An employee
          11     who has any business to transact on his own account, similar to that [e]ntrusted to him
          12     by his employer, shall always give the preference to the business of the
          13     employer.”). Multi-apping by an employee would breach this duty.
          14           141. In addition, employers track the hours their employees work in order to pay
          15     them for all time worked and ensure compliance with minimum-wage requirements.
          16     Doing so would be impossible if an employee was multi-apping to simultaneously obtain
          17     delivery referrals from the Postmates app and rideshare referrals from the Uber app,
          18     because there would be no way to determine, for example, which company would be
          19     responsible for the time the worker waits between leads. To ensure compliance with
          20     these wage laws, companies would either have to forbid multi-apping or establish rigid
          21     work schedules during which employees could only work using one app. They would
          22     need to ensure maximum utilization for any time that the service provider could claim
          23     to be working, including by ensuring adequate demand for the services provided by the
          24     worker in the location and at the time that the worker was on the clock. In all cases,
          25     reclassification would destroy the flexibility app-based drivers enjoy to quickly move
          26     between platforms to find the best work.
          27           142. And even absent multi-apping, network companies would have to adopt set
          28     schedules to avoid potential liability associated with periods during which employees

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            1    were logged into their apps but waiting for work or doing something else in case the
            2    right lead came along. Employees would be incentivized to log in but decline work
            3    requests, if doing so increased the number of hours they were counted as working. To
            4    combat this, network companies would have to require workers to schedule their work
            5    shifts in advance and accept a minimum percentage of requests during that shift. These
            6    would further reduce worker flexibility and discretion.
            7            143. The compelled reclassification that Defendants seek would force many on-
            8    demand drivers “right out of a stable income stream.” 95 For example, according to one
            9    study, requiring Company Plaintiffs to reclassify app-based drivers as employees and to
          10     adopt formal work schedules for those new employees would lead to fewer earning
          11     opportunities for nearly one million workers and the loss of 80–90 percent of available
          12     on-demand work opportunities in California. 96 Plaintiff Uber likewise estimates around
          13     158,000 drivers in California would instantly lose access to its app under an employment
          14     model. The displacement of hundreds of thousands of workers, including Individual
          15     Plaintiffs, who rely on the current arrangement and for whom the performance of this
          16     work is possible only if they maintain agency over the conditions in which they choose
          17     to do this work would cause them irreparable injury and immeasurable harms.
          18             144. In particular, each Plaintiff would suffer substantial economic and non-
          19     economic harm, as explained in more detail below.
          20             A.    Lydia Olson
          21             145. Lydia Olson is an independent driver who uses the Uber app (and other
          22     apps) to find passengers.
          23
          24
                 95
                      Kristian, supra note 63.
          25
                 96
                      David Lewin et al., Analysis of Driver Job Losses if Gig Economy Companies Must
          26          Re-Classify Drivers as Employees Rather Than Independent Contractors 1, 3 (May
                      14, 2020), https://protectdriversandservices.com/wp-content/uploads/2020/05/BRG-
          27          REPORT-JOB-LOSS-SUMMARY-MAY-14-2020_FINAL.pdf; see also Beacon
                      Economics LLC, How Many Drivers Would Lyft Recruit Under a Traditional Work
          28          Arrangement? An Analysis 2 (Aug. 2019), https://images.kusi.com/wp-
                      content/uploads/2019/09/Beacon-Economics-August-2019.pdf.
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            1          146. Ms. Olson needs the flexibility that comes with being an independent
            2    service provider. She takes care of her husband, who has multiple sclerosis. Given his
            3    illness, it is not always foreseeable when she will be needed. In the past, she has taken
            4    several days, or even weeks, off from work to care for him. Thus she requires not only
            5    a stable and consistent income, but also flexibility in her hours. It would be much
            6    harder—and perhaps impossible—to be able to care for her husband when she needs to,
            7    if she were an employee. Ms. Olson holds an MBA from the University of California,
            8    Davis; has personal experience as an employee in several management positions; and,
            9    based on her experience, does not believe a position as an employee would provide her
          10     the flexibility she needs.
          11           147. Ms. Olson runs her own consulting company.                This business varies
          12     substantially in terms of how many hours it demands from her. To help stabilize her
          13     income, she uses the Uber app to connect with riders. As an app-based driver, when the
          14     consulting business is slower, she can pick up more opportunities on the Uber app.
          15     When it is busier, she can use the app less frequently—or stop entirely, and pick it up
          16     again when she has more time. She values the ability to use Uber to supplement her
          17     income as needed, sometimes a little and sometimes a lot. That would not be possible
          18     if she had a fixed schedule, needed to work a certain number of hours per week, or was
          19     prevented from working a certain number of hours in a given week.
          20           148. Ms. Olson could not work for Uber as an employee. Given her husband’s
          21     illness and the fact that she has little or no notice of when she will have to take time off
          22     to care for him, she could not give up the flexibility that she has as an independent
          23     contractor. However, her family depends on the income she makes using the Uber app.
          24     Her consulting business does not provide guaranteed income, so her driving business
          25     provides a level of financial stability that she and her husband need.
          26           B.     Miguel Perez
          27           149. Plaintiff Miguel Perez is a courier who uses the Postmates app to run his
          28     own delivery business.

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            1           150. Mr. Perez previously drove a truck on the graveyard shift for FedEx
            2    Corporation. He did not feel safe working overnight and did not like the rigidity of
            3    working a regular shift.
            4           151. Mr. Perez now runs his own delivery business primarily using Postmates,
            5    although he also uses many other platforms like Caviar, Grubhub, DoorDash, and Uber
            6    Eats when he finds fewer or less convenient referrals on Postmates.
            7           152. Mr. Perez earns approximately double what he previously earned driving
            8    for FedEx and feels safer as a result of not having to work the graveyard shift. Because
            9    of the extra money he has made running his own delivery business, his wife was able to
          10     quit her job to spend more time with family. Additionally, because Mr. Perez earns his
          11     income working for himself, he can deduct his business expenses from his taxes.
          12            153. Mr. Perez values the flexibility of working for himself. He can take off
          13     whenever he wants to spend time with his family—whether for vacations or just to see
          14     his son play little league baseball—without requesting permission or even telling
          15     anyone. He never has to go into an office or attend trainings or meetings. He also can
          16     accept or decline delivery requests at his option and often does so if a delivery address
          17     is too far away, it looks like it will take too long before the food is ready, or parking will
          18     be a big problem. He has learned the streets and merchants in the Los Angeles area well,
          19     and he sets his own pace and uses his own strategy to get deliveries to his customers
          20     efficiently.
          21            154. Mr. Perez does not want to work as someone else’s employee again. That
          22     would upend his life. He would have to give up his delivery business and go back to
          23     driving a truck for a set shift. That would deprive him of the freedom that he values and
          24     his family needs. He also worries that he may not be able to get his business back. The
          25     amount of harm he would suffer if he cannot be an independent on-demand worker
          26     would not be calculable in dollars and cents. No amount of money can give him his
          27     freedom and flexibility back.
          28

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            1          C.     Postmates
            2          155. Postmates is a network company that operates an online marketplace and
            3    mobile platform connecting local merchants, consumers, and independent couriers to
            4    facilitate the purchase, fulfillment, and, when applicable, local delivery of anything from
            5    takeout to grocery goods from merchants to the consumers. When the consumers place
            6    delivery requests from the local merchants, such as restaurants or grocery stores, through
            7    Postmates’ App, nearby independent couriers receive a notification and can choose
            8    whether to accept the consumer’s offer to pick up and complete the requested delivery.
            9          156. To begin making deliveries using the Postmates app, a courier must, among
          10     other things, execute a “Fleet Agreement,” which provides: “The Parties intend this
          11     Agreement to create the relationship of principal and independent contractor and not that
          12     of employer and employee.”
          13           157. Each courier is free to use the Postmates app as much or as little as he or
          14     she wants—there is no set schedule, minimum-hours requirement, or minimum-delivery
          15     requirement. When a customer requests a delivery using the Postmates app, the app
          16     sends basic information about the delivery request to the closest available couriers, who
          17     may accept, reject, or ignore the request. It is entirely up to them.
          18           158. Postmates relies on the independent contractor relationship recognized in
          19     its contracts with couriers and enshrined in Prop 22. An employment model would
          20     seriously harm Postmates’ business, including by impacting its ability to add
          21     independent couriers to its platform. This could reduce earning opportunities for
          22     thousands of independent couriers in California and impact the fluid nature in which
          23     Postmates’ marketplace is able to meet consumer and independent courier supply and
          24     demand in real time.
          25           159. Postmates’ business model is built around operating an online platform that
          26     connects merchants and consumers willing to pay for delivery services with independent
          27     couriers willing to provide those services. The Fleet Agreement is critical to Postmates’
          28     business: It is the mechanism by which Postmates maintains its relationships with a

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            1    skilled, flexible, and autonomous constituency of delivery service providers who work
            2    when they want, as much as they want, and where they want.
            3          160. Although the Postmates app operates in cities throughout the world and
            4    facilitates millions of deliveries each day, Postmates has about only 1,200 actual
            5    employees. These employees are dedicated to sales, engineering, analytics, strategy,
            6    design, support (of merchants, couriers, and other aspects of the platform), and other
            7    functions. Postmates’ business is not staffed or structured to provide delivery services;
            8    to hire, schedule, and manage a large workforce of employee couriers; or to maintain
            9    and provide a comprehensive array of employment benefits. An employment model
          10     would require Postmates to spend significant amounts in restructuring and staffing fees
          11     alone to construct the management and human resources infrastructure necessary to run
          12     a delivery services company, instead of a technology company with independent
          13     contractors.
          14           161. Additionally, Postmates’ existing business model does not include any
          15     management of the independent delivery couriers in the performance of their tasks, and
          16     Postmates would have to train, retrain, discipline, and supervise the conduct of purported
          17     employee couriers in the performance of their deliveries to ensure conformity with
          18     Postmates’ policies and applicable laws.
          19           162. An employment model would be incompatible with the flexibility attendant
          20     in their current contracts with Postmates. The vast majority of daily deliveries that the
          21     Postmates app facilitates occur around typical meal times. Because of the requirements
          22     in California law related to the scheduling of employee shifts, meal periods, and rest
          23     breaks, among other requirements, Postmates would be unable to ensure an efficient
          24     functioning of its platform at peak times with an employee courier system and would
          25     suffer from increased administrative and labor costs during periods with few delivery
          26     requests.
          27           163. Postmates relies on independent couriers having the flexibility and
          28     autonomy to pick and choose when they want to login to the Postmates app. Postmates

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            1    is not responsible for ensuring that there are enough couriers in a given location to satisfy
            2    demand and does not have the administrative and staffing infrastructure to do so.
            3          D.     Uber
            4          164. Uber is a network company that develops proprietary software used to
            5    create digital marketplaces, operated through app-based platforms. Through the use of
            6    proprietary algorithms, the Uber apps connect individuals in need of goods or services
            7    with those willing to provide them.
            8          165. The most widely used Uber marketplace is operated through the Uber Rides
            9    apps. Riders download the Uber Rider app and independent drivers download the Uber
          10     Driver app, and in combination, the apps connect riders to vehicles operated by app-
          11     based drivers. The Uber Rides apps are used in cities throughout the world and facilitate
          12     the transportation of millions of riders each day. Using the Uber Rider app, riders can
          13     connect with available transportation providers based on their location, offering a variety
          14     of transportation options.
          15           166. To begin using the Uber Driver app, any driver must, among other things,
          16     execute a “Platform Access Agreement,” which provides, in its very first section: “The
          17     relationship between the parties is solely as independent business enterprises” and “[t]his
          18     is not an employment agreement and you are not an employee.”
          19           167. There is no typical driver who uses the Uber Driver app. Drivers have a
          20     number of individual choices that will determine their work circumstances. Each
          21     independent driver is free to use the Uber Driver app as much or as little as he or she
          22     wants—there is no set schedule, minimum-hours requirement, or minimum-ride or
          23     minimum-delivery requirement. Drivers use their own vehicles and tools, manage their
          24     own vehicle maintenance, oversee their own appearance and manner of serving riders,
          25     and determine their own driving routes and other aspects of the rides they give to riders.
          26           168. Many drivers who use the Uber Driver app provide transportation services
          27     to earn supplemental income when convenient for them while working as an employee
          28     of an employer.     Other drivers accept referrals using the Uber Driver app when

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            1    convenient for them and work one or more freelance jobs, such as a property manager,
            2    realtor, or graphic designer. Still other drivers have no employer and selectively accept
            3    referrals from the Uber Driver app, perhaps because they care for a loved one who is
            4    sick, they have small children, or they have other commitments that prevent them from
            5    regularly accepting referrals. See Uber Driver Decls., Colopy v. Uber Techs. Inc., No.
            6    CV-13-03826-EMC (N.D. Cal. Sept. 24, 2020), ECF Nos. 96–113; Evangelis Decl. Ex.
            7    3, Colopy, No. CV-19-06462-EMC, ECF No. 95 (chart compiling declarations,
            8    demonstrating heavy variation across drivers who use the Uber app); Uber Driver Decls.,
            9    People v. Uber Tech., Inc., No. CGC-20-584402 (S.F. Sup. Ct.).
          10           169. An employment model would be inconsistent with Uber’s Technology
          11     Services Agreement with drivers, deprive many part-time drivers of the opportunity to
          12     accept referrals from the Uber Drivers app, and force Uber to make radical changes to
          13     its business model.
          14           170. Uber’s business model is built around operating an online platform that
          15     connects those willing to pay for rides or deliveries with those willing to provide those
          16     rides or deliveries through the Uber apps. Uber’s Service Agreements with drivers and
          17     delivery persons are critical to Uber’s business: They are the mechanism by which Uber
          18     maintains its relationships with a flexible and autonomous constituency of independent
          19     service providers.
          20           171. Although the Uber apps operate in cities throughout the world and facilitate
          21     the transportation of millions of riders and deliveries each day, Uber has only around
          22     6,000 actual employees in California, most of whom are dedicated to technology product
          23     development—i.e., developing and operating the Uber apps and other technologies.
          24     Uber’s business is not staffed or structured to provide transportation or delivery services
          25     or to hire, schedule, and manage a large workforce of drivers or delivery persons.
          26           172. Uber also relies on app-based drivers having the flexibility and autonomy
          27     to pick and choose when they want to login to the Uber apps. Uber is not responsible
          28

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            1    for ensuring that there are enough drivers or delivery persons in a given location to
            2    satisfy demand.
            3                                              ***
            4          173. App-based drivers are independent contractors, as the People recognized in
            5    approving Prop 22. That is so for good reason: An employment model would reduce
            6    income-earning opportunities and create inequality and harm the middle class, in direct
            7    contradiction of AB 5’s stated purpose. Many app-based drivers like Plaintiff Olson
            8    participate in the sharing economy to supplement their primary sources of income, make
            9    up for financial shortfalls, or find work between jobs. But forced reclassification would
          10     make workers choose between becoming an employee or not working at all, when many
          11     cannot find work as an employee, cannot work as an employee because they already
          12     have a full-time position, or, like Plaintiff Olson and Plaintiff Perez, cannot become an
          13     employee without giving up their businesses.
          14           174. Reducing the number of drivers would mean longer wait times and reduced
          15     service areas for consumers, undermining the on-demand marketplace of Uber and other
          16     network companies. Whereas app-based drivers can currently choose to take an on-
          17     demand opportunity (or not) wherever they happen to be, an employment model is
          18     invariably based on set shifts in a dedicated location during set hours.
          19           175. Moreover, the contracts between many network companies and app-based
          20     drivers treat—and/or explicitly classify—the workers as independent contractors. These
          21     contracts make clear that the companies do not have certain obligations to the workers
          22     as employees under the Labor Code, and also that the app-based drivers do not have the
          23     same obligations to the network companies as they would if those companies were
          24     traditional “employers.”
          25
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            1            176. Independent contractor status, enshrined into law in Prop 22, also ensures
            2    that on-demand workers can “claim federal income tax deductions for business
            3    expenses” and other tax deductions.97
            4                                       COUNT I
            5    Declaratory Relief: Violation of the U.S. Constitution’s Equal Protection Clause
                         177. Plaintiffs incorporate all other paragraphs of this Complaint.
            6
                         178. California’s “worker classification scheme” as embodied by AB 5, AB 170,
            7
                 and AB 2257 (together, “worker classification scheme”) violated the Equal Protection
            8
                 Clause of the Fourteenth Amendment of the United States Constitution because it never
            9
                 advanced a legitimate governmental interest and it drew classifications between network
          10
                 companies and non-network companies without a rational basis for distinguishing
          11
                 between the two groups.
          12
                         179. The worker-classification scheme is not rationally related to its stated
          13
                 purposes of protecting workers. To the contrary—AB 5, AB 170, and AB 2257 remove
          14
                 millions of workers from the protection of the ABC test that they previously enjoyed
          15
                 under Dynamex, subjecting them instead to the Borello test, which the bills’ sponsors
          16
                 claim is inadequate to protect workers. If the California Legislature’s goal in enacting
          17
                 these amendments was truly to extend broadly the rule of Dynamex in order to protect
          18
                 workers from perceived harms caused by purported misclassification, the statute would
          19
                 not contain dozens of exemptions from the ABC test—all of which affirmatively revoke
          20
                 the application of the ABC test that these workers received in wage order claims under
          21
                 the Dynamex decision—and the Legislature would not have rushed to seek hundreds of
          22
                 new exemptions for all but Plaintiffs in a revised bill just a few months later. It would
          23
                 also not have specifically exempted workers in industries perceived to have higher
          24
                 misclassification rates, such as the construction, janitorial, and hospitality industries,
          25
          26
          27     97
                      Howard Gleckman, Will California’s New Labor Law Change the Way Gig Workers
                      Are       Taxed?,     Tax        Policy      Ctr.       (Sept.     20,     2019),
          28          https://www.taxpolicycenter.org/taxvox/will-californias-new-labor-law-change-
                      way-gig-workers-are-taxed.
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            1    including a new specific exemption for such workers who use referral agencies (like
            2    Plaintiffs) to perform such services as housekeeping, picture hanging, pool cleaning,
            3    yard cleanup, or home cleaning (among others). And it would not have handpicked
            4    workers in some industries who meet certain criteria while exempting workers similarly
            5    situated in all respects who also meet those same criteria, applying the more flexible
            6    Borello standard to some and applying the Dynamex standard to others for no
            7    identifiable reason.
            8           180. Where, as here, the breadth of the statute is so discontinuous with the
            9    reasons offered for it that the statute is inexplicable by anything but animus toward the
          10     class it is designed to harm, the statute lacks a rational relationship to legitimate state
          11     interests.     And where, as here, the exclusion of thousands of workers from the
          12     purportedly less flexible ABC standard for the purpose of wage orders is inconsistent
          13     with the state’s asserted interest even taken on its own terms for passing the law, the law
          14     violates equal protection.
          15            181. The statutes also drew irrational distinctions between app-based drivers and
          16     others that perform work similar in all relevant respects, disfavoring app-based drivers
          17     relative to others who enjoyed exemptions. Laws unconstitutionally singling out a
          18     certain class of citizens for disfavored legal status or general hardships are rare.
          19     California’s worker-classification scheme is such an exceptional and invalid form of
          20     legislation.
          21            182. The pretextual nature of California’s proffered explanations for the
          22     classification scheme’s differential treatment is apparent from the face of the statutes.
          23     There is no rational distinction between network companies and many of the other
          24     companies granted exemptions under AB 5, and especially not between Plaintiffs and
          25     the platform companies exempted through the Legislature’s revisions to AB 5’s referral
          26     agency exemption by AB 2257. The California legislators’ focus on subjecting certain
          27     platform companies to the ABC test, and their willingness to grant a laundry list of
          28     exemptions for other categories of companies in order to spare those types of companies

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            1    the costs and burdens of complying with the classification scheme, demonstrates
            2    irrational animus against network companies in violation of their equal protection rights.
            3    This type of singling out, in connection with a rationale so weak that it undercuts the
            4    principle of non-contradiction, fails to meet even the relatively easy standard of rational
            5    basis review.
            6          183. And any such proffered explanation is easily undone by the Legislature’s
            7    rapid response to the chaos and economic destruction caused by AB 5 to exempt dozens
            8    upon dozens of other occupations accidentally caught up by their first attempt through
            9    AB 2257’s additional amendments, as well as their decision to revise AB 5’s referral
          10     agency exemption (which this Court had previously indicated might apply to Plaintiffs)
          11     to establish expressly a blanket exemption for almost all other referral agency business
          12     models except Plaintiffs’ (and a few other politically unpopular groups).
          13           184. Plaintiffs are a politically disfavored group within the California
          14     government, similar to other disfavored groups (such as “hippies,” civilian gun owners,
          15     companies disfavored by unions, and Planned Parenthood) that the Supreme Court and
          16     lower courts have protected against disparate treatment in legislation.
          17           185. Strict scrutiny review applies because the worker-classification scheme was
          18     designed to burden, and—in spite of Prop 22—Defendants still seek to use it to burden,
          19     the fundamental rights of network companies and workers to pursue their chosen
          20     profession and determine when and how they earn a living.
          21           186. In addition, there is no rational basis for targeting network companies for
          22     disfavored treatment. AB 5 and AB 2257 ostensibly exempted business-to-business
          23     services, freelance writers, grant writers, graphic designers, insurance agents, direct
          24     sellers, manicurists, hair dressers, real estate agents, recording artists, musicians,
          25     songwriters, composers, record producers, musical engineers, interpreters, independent
          26     radio promoters, film and independent production crews, publicists, proofers,
          27     competition judges, and independent service providers who use platforms to find leads
          28     for customers looking for graphic design, web design, photography, tutoring, consulting,

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            1    youth sports coaching, wedding or event planning, minor home repair, moving, home
            2    cleaning, errands, furniture assembly, animal services, dog walking, dog grooming,
            3    picture hanging, pool cleaning, or yard cleanup, captioning, and interpreting and
            4    translating services (among untold others). Yet the independence, autonomy, and other
            5    characteristics these types of workers enjoy are similar in all relevant respects to the
            6    independent service providers who use Plaintiffs’ app-based platforms.
            7            187. Not only is animus toward the on-demand economy the only possible
            8    explanation for the express exemption of a litany of similarly situated companies but not
            9    network companies, but it is also the actual explanation for the scheme. The public
          10     record is filled with statements by California legislators who voted for the bill, including
          11     the sponsor of AB 5, attacking network companies specifically, targeting such
          12     companies in their support of AB 5, stating their view that AB 5 will stop the purported
          13     “unscrupulous” business practices of such companies, and urging government officials
          14     and even private citizens to sue them.
          15             188. This sort of malicious, irrational, and plainly arbitrary action by state
          16     officials defeats California’s worker-classification law under the rational relation test.
          17             189. The manner in which AB 5’s exemptions were created further confirms that
          18     the statute violates the Equal Protection Clause. Many exemptions resulted from “back
          19     door” deals and political favors to industry groups—i.e., not a valid legislative
          20     purpose.98 For example, of all the truckers in California, only truckers who haul
          21     construction materials and tow truck drivers who tow disabled vehicles for motor clubs
          22     are exempted. Network companies also sought an express exemption as the statute was
          23     moving through the California legislature, but were denied exemptions, while the
          24     Legislature then sought to ensure exemptions for untold other referral agencies and
          25     platform companies and hundreds of other companies who complained they had been
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          27
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                      See Skelton, supra note 36 (“How do you qualify for an exemption? Answer:
          28          pressure and persistence. Better also hire a lobbyist. And, of course, it helps to be a
                      political supporter.” (internal quotation marks omitted)).
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            1    caught up in the legislators’ scheme to harm and eliminate Plaintiffs’ business instead.
            2    None of these dozens upon dozens of exempted companies are distinguished from
            3    network companies like Plaintiffs in any rational way—Plaintiffs are independent
            4    businesses engaged with other independent businesses run by independent service
            5    providers, these independent service providers are not performing work that is more
            6    dangerous than any of the many exempted occupations (such as home repair and moving
            7    furniture), and their business is already subject to extensive rules and regulations for its
            8    performance by the California Public Utilities Commission.
            9          190. Yet Defendants invoked “unions [being] down”—the same unions who
          10     lobbied for and drafted AB 5’s exemptions—as a reason for Defendants’ enforcement
          11     of AB 5 against Uber and Lyft specifically. The principal sponsor of AB 5, and AB
          12     2257’s numerous exemptions for other similarly situated companies, declared she is
          13     acting as the arm for the unions to such an extent that she represents herself to be the
          14     union. And there is no other conceivable explanation for these numerous other specific
          15     carve-outs but to secure the support of these same unions by targeting Plaintiffs for
          16     disparate and unfair treatment.
          17           191. Legislatures may not draw lines for the purpose of arbitrarily excluding
          18     individuals, including by doing so as a concession to one constituent but not another,
          19     when there is no other rational basis for doing so. Yet, the sponsors of AB 5 included
          20     the exemptions solely in response to the demands of powerful interest groups.
          21           192. Moreover, although its legislative proponents claim that the statute would
          22     prevent “exploitation” of independent service providers, if the worker-classification
          23     scheme continues to be enforced against Plaintiffs, as Defendants have said they intend
          24     to do, it will punish them for contracting with other businesses while simultaneously
          25     carving out a laundry list of exemptions for dozens of classes of independent contractors
          26     who are, by the logic employed by AB 5’s proponents, equally “exploited” by the
          27     businesses with whom they contract. By the sponsors’ logic, the worker-classification
          28     scheme makes it more likely that workers in the exempted businesses will be

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            1    “exploited,” given that the statute excludes those workers from the Dynamex standard
            2    they would otherwise be subject to for certain wage order claims. Thus, California’s
            3    worker classification scheme is so discontinuous with the reasons offered for it that it is
            4    inexplicable by anything but animus toward the class it is designed to affect, lacks a
            5    rational relationship to legitimate state interests, and violates equal protection.
            6             193. The public record is replete with evidence showing that California
            7    legislators supported the worker-classification scheme in an effort to isolate and harm
            8    certain platform companies, if not put them out of business. Indeed, its sponsors, public
            9    officials enforcing the scheme against Uber, and the lobbying groups who pressed its
          10     passage all have expressly stated that their intention was to put Uber out of business in
          11     California.
          12              194. The legislature’s circuitous path to legitimate ends, when a direct path is
          13     available, shows that California’s worker-classification scheme lacks a rational basis. If
          14     California wanted to provide independent service providers access to certain benefits
          15     and protections, it could have passed more direct and less-restrictive measures to achieve
          16     that end. Indeed, network companies presented multiple proposals that would ensure
          17     the protections for independent service providers the classification law purports to
          18     guarantee. For example, network companies advocated for legislation that would allow
          19     for creation of an independently administered “portable benefits” fund into which all
          20     rideshare companies would pay. 99 The fund would pay for a series of benefits chosen
          21     by drivers, including paid sick leave, paid time off, and disability coverage if a driver
          22     could not work due to an accident while driving. 100 Independent service providers would
          23
          24
                 99
                       See, e.g., Open Letter from David Rolf, President, SEIU 775, Dara Khosrowshahi,
          25           CEO, Uber, & Nick Hanauer, Founder, Civic Venture Partners, An Open Letter to
                       Business, Labor and Government: Building a Portable Benefits System for Today’s
          26           World (Jan. 23, 2017), https://ubernewsroomapi.10upcdn.com/wp-content/
                       uploads/2018/01/Portable-Benefits-Principles-FINAL.pdf.
          27
                 100
                       See Uber Commc’ns & Policy Team, Moving Work Forward in California, Medium
          28           (Aug. 29, 2019), https://medium.com/uber-under-the-hood/moving-work-forward-
                       in-california-7de60b6827b4.
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            1    own these benefits and keep them irrespective of what type of on-demand work they
            2    performed. The voters ultimately enacted a similar system, via Prop 22, after the
            3    Legislature rejected it out of animus towards network companies.
            4            195. Network companies also submitted a proposal for a policy that would
            5    ensure independent service providers earn a minimum of approximately $21 per hour
            6    while on a trip, including the costs of their average expenses; receive access to benefits
            7    like paid time off, sick leave, and compensation if they are injured while driving on
            8    referrals received on a network platform; and have a collective voice to advocate on their
            9    behalf on decisions about their work. 101 Yet the classification scheme’s sponsors refused
          10     to consider these proposals at all while considering and enacting exemptions for many
          11     other workers. Again, the voters had to step in, guaranteeing earnings of at least 120%
          12     of local minimum wage (plus $.30 per mile). This plainly demonstrates that the true
          13     purpose of the sponsors is to destroy the on-demand business model for Plaintiffs, not
          14     protect workers. And the multitude of additional AB 2257 exemptions since added for
          15     dozens upon dozens of other occupations, as well as the blanket exemption for referral
          16     agencies except those who facilitate transportation or delivery services (among a handful
          17     of other disfavored groups), confirmed this irrational and illegitimate intent. The fact
          18     that the laws’ sponsor (and Defendants) refuse to accept the will of the People of the
          19     State of California as expressed through Prop 22’s passage and continue to threaten
          20     Plaintiffs by name for continued disfavored treatment confirms the animus behind these
          21     laws.
          22             196. The malicious and arbitrary purpose of the statutes—combined with the
          23     back-room dealing that led to their laundry list of irrational exemptions—creates a
          24     “wholly arbitrary” standard in violation of equal protection.
          25             197. Plaintiffs have no adequate remedy at law.
          26
          27
          28     101
                       Uber, Stand up for drivers and ridesharing (last visited Mar. 3, 2020),
                       https://p2a.co/H9gttWA.
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            1                                       COUNT II
            2     Declaratory Relief: Violation of the California Constitution’s Equal Protection
                                                      Clause
            3
                       198. Plaintiffs incorporate all other paragraphs of this Complaint.
            4
                       199. For substantially the same reasons as described in Count I, AB 5 violates
            5
                 Article 1, Section 3(b)(4) of the California Constitution.
            6
                       200. California businesses have a constitutionally protected interest in operating
            7
                 free from unreasonable governmental interference. Businesses are therefore protected
            8
                 from baseless or invidiously discriminatory standards and have a right to be free from
            9
                 excessive and unreasonable government conduct intentionally directed toward them to
          10
                 force them out of business.
          11
                       201. Plaintiffs will be deprived of equal protection under the law in violation of
          12
                 the California Constitution if AB 5 is enforced against them.
          13
                                                    COUNT III
          14        Declaratory Relief: Violation of the U.S. Constitution’s Due Process Clause
          15                           (Right to Pursue Chosen Occupation)
                       202. Plaintiffs incorporate all other paragraphs of this Complaint.
          16
                       203. California’s worker-classification scheme violated the Due Process Clause
          17
                 of Section 1 of the Fourteenth Amendment to the United States Constitution. Contrary
          18
                 to law, Defendants are still attempting to use the worker-classification scheme to compel
          19
                 reclassification of app-based drivers as employees. That would prevent Plaintiff Olson
          20
                 and Plaintiff Perez from pursuing their chosen occupation as business owners in the
          21
                 sharing economy, and it would transform Company Plaintiffs from technology platform
          22
                 companies into taxi and delivery companies.
          23
                       204. Being one’s own boss, as Plaintiff Olson, Plaintiff Perez, and many other
          24
                 independent service providers choose to do, is a fundamentally different occupation than
          25
                 driving as an employee on an inflexible shift. Forced reclassification, as Defendants
          26
                 have sought (and obtained against Uber via a preliminary injunction they are still
          27
                 defending in spite of Prop 22), would be a complete prohibition on exercising the right
          28

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            1    to pursue this occupation as an independent service provider who uses apps to facilitate
            2    the transportation of passengers or deliveries. It also would infringe the rights of
            3    network companies, app-based drivers, and customers to make contracts governing their
            4    occupations and purchases, and to associate with one another. The freedom to enter into
            5    their own work agreements, and to buy services from willing sellers, are of paramount
            6    importance to network companies, on-demand drivers, and customers. The right to
            7    pursue their chosen occupation is the very essence of on-demand drivers’ and network
            8    companies’ personal freedom and opportunity.
            9          205. Forced reclassification would deprive network companies and app-based
          10     drivers of these rights by forbidding them from entering into their chosen work
          11     arrangements—that of independent service providers, with the flexibility and autonomy
          12     that entails. The sponsors of the law still seek to destroy the chosen occupation of app-
          13     based drivers and network companies—to make app-based drivers like Plaintiff Perez
          14     and Plaintiff Olson into employees rather than business owners, and to make technology
          15     companies like Uber and Postmates into transportation or delivery companies. And in
          16     doing so, they would impose massive obligations on both network companies—which
          17     must comply with a host of laws governing employers—and app-based drivers—who
          18     must comply with duties that bind employees, such as the duty of loyalty to one’s
          19     employer.
          20           206. In addition, mandatory reclassification would not only replace app-based
          21     drivers’ chosen working relationships with an entirely different one, but it also would
          22     force many app-based drivers out of their lines of work entirely, because network
          23     companies cannot hire even a small fraction of these app-based drivers as an employees.
          24     Individual Plaintiffs could not continue to work as part-time app-based drivers under an
          25     employment model. In fact, Uber and Lyft both declared that they would be forced to
          26     shut down their ridesharing platforms entirely in California if the preliminary injunction
          27     issued against them under California’s worker-classification scheme went into effect and
          28     forced them to reclassify app-based drivers who use their platform apps as employees,

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            1    and the mayors of two of California’s largest cities recognized these businesses would
            2    be wiped out without a stay of that preliminary injunction.
            3          207. The interference with, and deprivation of, these rights is unreasonable and
            4    arbitrary. The worker-classification law is not narrowly tailored to any compelling
            5    governmental interest, nor is it the least restrictive means to serve any such end. It is
            6    not even rationally related to any legitimate governmental interest. It has no substantial
            7    relation to the public, health, safety, or morals, or to the general welfare, and it is not
            8    congruous with any legitimate purpose the government may proffer. For example, the
            9    law is unrelated to serving any interest in worker protection because it outlaws working
          10     relationships of the workers’ own choosing and undermines their flexibility and
          11     autonomy by imposing rigid and duty-laden employer-employee relationships on the on-
          12     demand economy, especially since the amendments to AB 2257 exempted similarly
          13     situated independent service providers who utilize other apps. Any overlap with
          14     traditional employment is both minimal and irrelevant.
          15           208. The worker classification standard is not a rational fit for the on-demand
          16     economy; rather, it impedes the convenience and flexibility that are at its heart.
          17     Moreover, it plainly does not serve consumer needs; the actual incidence of any harm
          18     the government could proffer is extremely rare.            Rather, California’s worker-
          19     classification scheme, especially as amended by AB 2257, is motivated by animus
          20     towards certain parts of the on-demand economy and its occupations, and a desire to
          21     protect politically favored constituents. These purposes show that any proffered rational
          22     basis for AB 5 is illusory. The voters recognized this in rejecting the application of the
          23     worker classification standard to network companies and on-demand drivers. Yet
          24     Defendants are defying the People’s will and attempting to enforce it anyway.
          25           209. Put simply, forced reclassification would force app-based drivers like Mr.
          26     Perez and Ms. Olson to change their occupation from “business owner” to “employee”—
          27     a fundamental change that will affect their lifestyle, earning capacity, and ability to care
          28     for their loved ones. And such a reclassification would transform Company Plaintiffs

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            1    from technology companies that develop apps into driver and delivery companies that
            2    have to manage fleets of drivers and couriers.        That is not simply a change in
            3    classification; it is a dramatic reordering of Individual Plaintiffs’ occupations and
            4    Company Plaintiffs’ businesses.
            5          210. California businesses have a constitutionally protected interest in operating
            6    free from unreasonable governmental interference. Businesses are therefore protected
            7    from baseless or invidiously discriminatory standards and have a right to be free from
            8    excessive and unreasonable government conduct intentionally directed toward them to
            9    force them out of business.
          10           211. The public record is replete with evidence showing that California
          11     legislators supported the worker-classification scheme in an effort to isolate and harm
          12     certain platform companies, if not put them out of business. Indeed, its sponsors, public
          13     officials enforcing the scheme against Uber, and the lobbying groups who pressed its
          14     passage all have expressly stated that their intention is to put Uber out of business in
          15     California and eliminate the ability of Individual Plaintiffs to work in their chosen
          16     occupation and run their own independent transportation or delivery businesses.
          17           212. The Legislature’s circuitous path to legitimate ends, when a direct path is
          18     available, shows that California’s worker-classification scheme lacks a rational basis. If
          19     California wanted to provide app-based drivers access to certain benefits and
          20     protections, it could have passed more direct and less-restrictive measures to achieve
          21     that end. Indeed, network companies presented multiple proposals that would ensure
          22     the protections for independent service providers the classification law purports to
          23     guarantee, as explained above. The malicious and arbitrary purpose of the statute—
          24     combined with the back-room dealing that led to its laundry list of irrational
          25     exemptions—creates a “wholly arbitrary” standard in violation of due process.
          26                                        COUNT IV
          27     Declaratory Relief: Violation of the California Constitution’s Due Process Clause
                                      (Right to Pursue Chosen Occupation)
          28
                       213. Plaintiffs incorporate all other paragraphs of this Complaint.
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            1          214. For substantially the same reasons set forth in Count II, AB 5, and as
            2    amended by AB 2257, violates the Due Process Clause of Article I, Section 7 of the
            3    California Constitution.
            4                                        COUNT V
            5         Declaratory Relief: Violation of the U.S. Constitution’s Contracts Clause
                       215. Plaintiffs incorporate all other paragraphs of this Complaint.
            6
                       216. Article 1, Section 10 of the United States Constitution provides: “No state
            7
                 shall … pass any … Law impairing the Obligation of Contracts.”
            8
                       217. Company Plaintiffs are parties to valid contracts with the app-based drivers
            9
                 who use their apps, including Individual Plaintiffs. These contracts establish that the
          10
                 workers are independent contractors for the purposes of their work found by using the
          11
                 app-based platforms of the Company Plaintiffs.
          12
                       218. Enforcement of the now-superseded worker-classification scheme
          13
                 (whether to impose liability or to compel reclassification) would substantially impair
          14
                 existing contracts these existing contracts between Company Plaintiffs and the app-
          15
                 based drivers who use their apps, including Company Plaintiffs’ contracts with
          16
                 Individual Plaintiffs (as well as any new contracts required by Prop 22). It would
          17
                 severely modify key contractual rights in those contracts (such as various rights to
          18
                 flexibility), and would impose new obligations to which the parties did not voluntarily
          19
                 agree to undertake, such as a duty of loyalty, unemployment coverage, and other
          20
                 employment benefits. It would eliminate the very essence of the contractual bargain in
          21
                 these existing contracts, interfere with the reasonable expectations under these existing
          22
                 contracts, and eliminate the primary value of those contracts. The classification of app-
          23
                 based drivers as independent contractors under the existing contracts between Company
          24
                 Plaintiffs and app-based drivers, including Individual Plaintiffs, is a critical feature of
          25
                 Plaintiffs’ total contractual relationship.
          26
                       219. Plaintiffs expected that their contracts establishing an independent
          27
                 contractor relationship, rather than an employer-employee one, would maintain their
          28

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            1    value for many reasons.       Before the recent amendments to California’s worker-
            2    classification law, California courts repeatedly had affirmed that similar provisions were
            3    suitable to establish and maintain an independent contractor relationship and that
            4    workers who used Company Plaintiffs’ apps (and similar platform apps for delivery and
            5    transportation services) were properly classified as independent contractors. See, e.g.,
            6    Lawson v. Grubhub Inc., 302 F. Supp. 3d 1071, 1093 (N.D. Cal. 2018) (holding that a
            7    driver who used the Grubhub platform to perform deliveries is an “independent
            8    contractor” under California law); cf. U.S. Dep’t of Labor, Wage & Hour Div., Opinion
            9    Letter FLSA2019-6 (Apr. 29, 2019). Plaintiffs did not, and could not, expect or
          10     anticipate AB 5, AB 170, and AB 2257’s purported changes to the law when they entered
          11     into their contracts. These expectations were reasonable, both because no court had ever
          12     required Uber, Postmates, or any other platform company to reclassify independent
          13     service providers, and also because judicial and regulatory authorities had held that they
          14     are not employees. Dynamex did not overturn Plaintiffs’ expectations that their contracts
          15     were valid. Dynamex merely interpreted the “suffer or permit to work” language in the
          16     Industrial Wage Commissions wage orders. It did not forbid independent contractor
          17     relationships; it merely affected how much a company must pay its independent
          18     contractors.
          19           220. Indeed, the drafter of AB 5, AB 170, and AB 2257, Lorena Gonzalez, stated
          20     that the pre-AB 5 test “was weighted heavily against workers or agencies trying to prove
          21     misclassification”—i.e., in favor of upholding the contractual relationships the parties
          22     had voluntarily entered into—and that was why the bills were necessary. Given the
          23     admitted purpose of the new classification scheme’s sponsors to overturn past law
          24     upholding contracts and instead force reclassification, enforcement of that scheme
          25     would substantially impair those contractual relationships.          Plaintiffs’ reasonable
          26     expectation in the enforcement of their contracts thus extended far beyond the labels the
          27     parties placed on their relationship in these contracts to the substantive nature of the
          28     contracts, the basic rights of those contracts, and the heart of their very bargain, and this

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            1    ensures that the imposition of the classification scheme on them would be a substantial
            2    burden on their pre-existing contracts.
            3           221. California law further had developed the Borello test over decades under
            4    the common law, and it was extremely well-established as the proper means for
            5    determining whether an employment relationship existed between a worker and any
            6    company under California law and that the appropriate substantive division of control in
            7    a contract and in fact between a worker and a putative employer sufficiently established
            8    an independent contractor—rather than employment—relationship between them.
            9    Plaintiffs’ contracts are in writing and in fact easily satisfied that standard. And certainly
          10     Plaintiffs could not have foreseen the Legislature would purport to do so while
          11     exempting and rolling back the same rules as applied to similarly situated workers who
          12     utilize platforms to facilitate their provision of other similar services—and thus for
          13     absolutely no legitimate state purpose and solely to target and disadvantage Company
          14     Plaintiffs.
          15            222. The classification of app-based drivers, including Individual Plaintiffs, as
          16     independent contractors in the existing contracts between Company Plaintiffs and app-
          17     based drivers, including Individual Plaintiffs, had “obvious value” and was a significant
          18     factor in Company Plaintiffs’ bargaining expectations when entering into these
          19     contracts.
          20            223. The worker-classification scheme is not drawn in an appropriate and
          21     reasonable way to advance a significant and legitimate public purpose for all of the
          22     reasons expressed above.
          23            224. The worker-classification scheme has no legitimate public purpose because
          24     the statute was enacted to target and harm specific platform companies like Company
          25     Plaintiffs.
          26            225. The worker-classification scheme’s impairment of the existing contracts
          27     between Company Plaintiffs and app-based drivers, including Individual Plaintiffs, was
          28

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            1    not drawn with moderation and reason because it was drawn with the spirit to target and
            2    harm Company Plaintiffs.
            3          226. The worker-classification scheme’s irrational exemptions demonstrate
            4    California did not exercise the police power in passing it, but instead sought to provide
            5    a benefit to special interests while harming Company Plaintiffs.
            6          227. The worker-classification scheme does not reasonably advance the purpose
            7    of protecting workers because its exemptions leave numerous workers outside of its
            8    scope without any rational rhyme or reason.
            9          228. The worker-classification scheme’s narrow focus on Company Plaintiffs
          10     demonstrates that it was not enacted to protect any broad societal interest.
          11           229. The worker-classification scheme’s ostensible legislative purpose of
          12     helping workers is “suspect” because the Legislature excluded similarly situated
          13     workers without explaining the necessity for such exemptions to advance its legislative
          14     purpose—especially given the hundreds of additional exemptions now added to it by AB
          15     2257 and the catch-all exemption of all platform companies except Company Plaintiffs
          16     (and others like them in the disfavored group of network companies—platform
          17     companies for delivery and transportation services).
          18           230. The forced reclassification the scheme’s sponsors intended would
          19     unreasonably and substantially impair the existing contracts between Company
          20     Plaintiffs and app-based drivers, including Individual Plaintiffs, because an evident and
          21     more moderate course would have served the State’s purported purpose equally well.
          22           231. If forced reclassification of independent service providers, including
          23     Individual Plaintiffs, as employees were necessary to protect workers, then the
          24     California Legislature would not have irrationally exempted from reclassification,
          25     without explanation, numerous categories of independent service providers that are
          26     similarly situated to Individual Plaintiffs.
          27
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            1                                       COUNT VI
            2     Declaratory Relief: Violation of the California Constitution’s Contracts Clause
                        232. Plaintiffs incorporate all other paragraphs of this Complaint.
            3
                        233. For substantially the same reasons as described in Count V, enforcement of
            4
                 AB 5 against Company Plaintiffs as intended by the statute’s sponsors also would violate
            5
                 Article I, Section 9 of the California Constitution, which provides that a “law impairing
            6
                 the obligation of contracts may not be passed.”
            7
                                                     COUNT VII
            8
                           Declaratory Relief: Violation of the United States Constitution’s
            9                               State Bill of Attainder Clause
          10            234. Plaintiffs incorporate all other paragraphs of this Complaint.
          11            235. California’s worker-classification scheme violates Article I, Section 10 of
          12     the U.S. Constitution, which provides that “[n]o State shall … pass any Bill of
          13     Attainder.”
          14            236. The worker-classification scheme violates this prohibition because it is
          15     intended to single out gig companies for disparate treatment and punishment, without a
          16     trial, and is intended to force gig companies to incur the crippling financial,
          17     administrative, reputational, competitive, and other burdens, while sparing other
          18     companies from the same adverse treatment.
          19            237. The sponsors of AB 5, AB 170, and AB 2257 left no doubt of their intent
          20     to single out gig companies for harm. That targeted class is easily ascertained—and has
          21     in fact been ascertained—by the California media and public. The chief sponsor of AB
          22     5 referred by name to Plaintiff Uber on the floor, stating she would not add any language
          23     to exempt other favored companies if Uber could plausibly assert that language could
          24     apply to it.
          25            238.    The worker-classification scheme is intended to inflict punishment on the
          26     network-company class by crushing network companies with staggering costs.
          27
          28

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            1            239. By aiming to force reclassification and thereby nullify network companies’
            2    valid contracts with independent service providers, the worker classification scheme
            3    operates as a confiscation of property.
            4            240. The worker-classification scheme is designed to punish network
            5    companies.
            6            241. The sponsors of AB 5, AB 170, and AB 2257 publicly and repeatedly
            7    announced their verdict that “unscrupulous” and “bad actor” gig companies had “skirted
            8    labor laws,” “exploited” and “misclassified” workers, and engaged in “wage theft” or
            9    even “slavery.”
          10             242. Less burdensome alternatives would have achieved any of the scheme’s
          11     supposed nonpunitive purposes. AB 5’s stated purpose of codifying Dynamex could
          12     have been achieved by simply codifying Dynamex rather than exempting nearly
          13     everyone except gig companies from its holding. And worker protection can be achieved
          14     in myriad less burdensome ways—for example, by creating a portable-benefit fund or
          15     an intermediate category for app-based drivers as the voters of California have now
          16     done.
          17             243. If forced reclassification of independent service providers were necessary
          18     to protect workers, the California Legislature would not have exempted numerous
          19     categories of similarly situated independent service providers. And California would
          20     not have singled out Plaintiffs and sought extraordinary and wholly unprecedented
          21     preliminary relief against them that Defendants knew would destroy their business
          22     model and livelihoods.
          23                                          COUNT VIII
          24                 Declaratory Relief: Violation of the California Constitution’s
                                                Bill of Attainder Clause
          25
                         244. Plaintiffs incorporate all other paragraphs of this Complaint.
          26
                         245. For substantially the same reasons as described in Count VII, enforcement
          27
                 of AB 5 against Plaintiffs as intended by the statute’s sponsors also would violate Article
          28

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            1    I, Section 9 of the California Constitution, which provides that “[a] bill of attainder …
            2    may not be passed.”
            3                                            COUNT IX
            4                                          Injunctive Relief
                           246. Plaintiffs incorporate all other paragraphs of this Complaint.
            5
                           247. Defendants should be preliminarily and permanently enjoined from
            6
                 enforcing AB 5 against Company Plaintiffs.
            7
                           248. If the continued enforcement of the worker-classification scheme were to
            8
                 force the reclassification of Individual Plaintiffs from independent contractors to
            9
                 employees, Individual Plaintiffs would suffer severely and irreparably. Individual
          10
                 Plaintiffs both rely heavily on this independence and flexibility for their income, and
          11
                 because they care for ailing and struggling family members. Absent an injunction, they
          12
                 will suffer severe irreparable harm.
          13
                           249. If required to reclassify app-based drivers as employees, in contravention
          14
                 of Prop 22, Company Plaintiffs would incur immediate injury for which there is no
          15
                 adequate remedy at law, including because the statute violates their constitutional rights,
          16
                 threatens their business models, and forces them to incur unrecoverable administrative
          17
                 and compliance costs. Constitutional violations constitute per se irreparable harm.
          18
                           250. Forced reclassification also would require Company Plaintiffs to retrain
          19
                 staff, consult with legal counsel, and develop new compensation, benefits, and other
          20
                 policies. And the enforcement of AB 5 against Uber has already caused substantial
          21
                 harms that cannot be recovered.
          22
                           251. These injuries would result directly from enforcement of AB 5 in a manner
          23
                 consistent with the sponsors’ stated intent to require reclassification of workers in the
          24
                 on-demand economy against Company Plaintiffs, cannot be adequately compensated by
          25
                 money damages, and would be irreparable absent preliminary and permanent injunctive
          26
                 relief.
          27
          28

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            1          252. These injuries are preventable and redressable with appropriate injunctive
            2    relief that prevents Defendants from giving effect to or enforcing the statute against
            3    Company Plaintiffs.
            4          253. The balance of harms weighs in favor of injunctive relief. Defendants
            5    cannot claim an interest in the enforcement of an unconstitutional law. Nor can they
            6    plausibly claim harm from an injunction prohibiting enforcement of a statute that
            7    purports merely to clarify preexisting law—especially a statute that, after Prop 22,
            8    explicitly does not apply to Plaintiffs.
            9          254.    The public interest favors injunctive relief because many members of the
          10     public depend on their contractor status as a way to earn income without the burdens
          11     and rigid demands of a traditional 9-to-5 job.
          12           255. Moreover, depriving the public of the ability to transact with on-demand
          13     contractors would increase prices, increase wait times, and reduce access to important
          14     services, particularly in low-income and rural areas.
          15                                     PRAYER FOR RELIEF
          16           Plaintiffs ask this Court to order appropriate relief, including, but not limited to,
          17     the following:
          18               A. enter a judgment declaring that California’s AB 5, AB 170, and AB 2257
          19                  are invalid and unenforceable against Plaintiffs because enforcement as
          20                  intended by the statute’s sponsors would violate the equal protection
          21                  clauses of the United States Constitution and the California Constitution;
          22               B. enter a judgment declaring that California’s AB 5, AB 170, and AB 2257
          23                  are invalid and unenforceable against Company Plaintiffs because
          24                  enforcement as intended by the statute’s sponsors would violate the due
          25                  process clauses of the California Constitution and the Fourteenth
          26                  Amendment to the United States Constitution;
          27               C. enter a judgment declaring that California’s AB 5, AB 170, and AB 2257
          28                  are invalid and unenforceable against Company Plaintiffs because

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            1               enforcement would violate the contracts clauses of the United States
            2               Constitution and/or the California Constitution;
            3            D. enter a preliminary injunction, pending final resolution of this action,
            4               enjoining Defendants from taking any action to enforce California’s AB 5,
            5               AB 170, or AB 2257, against Company Plaintiffs;
            6            E. enter a permanent injunction enjoining Defendants from taking any action
            7               to enforce California’s AB 5, AB 170, or AB 2257 against Company
            8               Plaintiffs;
            9            F. award Plaintiffs the costs of defending against any enforcement action
          10                brought pursuant to, or any unconstitutional imposition of a penalty
          11                imposed under, California’s AB 5, AB 170, or AB 2257;
          12             G. grant Plaintiffs an award of reasonable attorney’s fees under 42 U.S.C.
          13                § 1988; and
          14             H. grant Plaintiffs such additional or different relief as the Court deems just
          15                and proper.
          16
          17     Dated: November 9, 2020
          18
          19                                          By: /s/ Theane Evangelis
                                                          Theane Evangelis
          20
                                                           Attorney for Plaintiffs
          21
          22
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            1                               DEMAND FOR JURY TRIAL
            2         Plaintiffs demand trial by jury on all issues so triable.
            3
            4
                 Dated: November 9, 2020
            5
            6
                                                        By: /s/ Theane Evangelis
            7                                               Theane Evangelis
            8                                                Attorney for Plaintiffs
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